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International forkyndelse og
bevisoptagelse i almindelige
borgerlige retssager
                                                                                       JENS K.A. DINESEN
Af    fuldmægtig i justitsministeriet, universitetsmanuduktør

1. Indledning                                                      samling,   som     Den danske  Dommerforening har taget
                                                                   initiativ til at   udarbejde. (Indtil denne udgivelse må
1.1. Baggrund          og   begreber
                                                                   retskilderne søges i lovtidende A eller C eller i ministeri-
Det  principielle udgangspunkt for alle over-                      altidende, hvortil angivelserne A, C og M i det følgende
vejelser vedrørende forkyndelse og bevisop-                        henviser. Ved U      betegnes   en   utrykt kilde).
tagelse i udlandet er territorialhøjhedens
grundsætning. Denne udelukker, at den stat,                        1.2. De  særlige folkeretlige regler om
hvor en tvist verserer  i det følgende kaldet
                                —
                                                                        international bistand ved forkyndelse

»processtatem    kan bruge sit magtapparat
                       —


                                                                        og bevisoptagelse
i udlandet, og den giver en anden stat   i                —
                                                                   Staternes samarbejde om løsningen af de
                      kaldet »territorialstatem           ret      ovenfor skitserede problemer beror i dag
det    følgende                                       —




                              enhver   handling foretaget          normalt     på     faste bilaterale eller multinatio-
til at modsætte         sig
af fremmede           myndighedsrepræsentanter            el-      nale aftaler. Hvor dette ikke                 er   tilfældet, må
ler   private på       dens område.                                det imidlertid formentlig stadig antages, at
  Når processtaten ikke mener at kunne                             den imødekommenhed, der generelt udvises,

undvære de ønskede handlinger eller erstatte                       beror ikke på en følelse af sædvaneretlig for-
dem med nogen, der kan foretages på dens                           pligtelse, men på helt frivillig venlighed
eget territorium, kræves            et   samarbejde    mel-        (»comitan), eventuelt kombineret med et
lem den og territorialstaten.                                      krav eller ønske        om      gensidighed.          .




  Dette omtales ofte under overskrifterne
                                                                      Se herom Heinrich  Nagel: Nationale und internatio-
»international retshjælpa og »internationale                       nale Rechtshilfe in Zivilprozess, das europäische Mo-
retsanmodningera, men blandt andet fordi                           dell (1971) p 45f, 65ff, 122 og 182, Hans Blix: Stats-
disse udtryk i praksis også benyttes om for-                       myndigheternas internationella förbindelser (1964) p
skellige regler om lige adgang til domstole                        149, Istvån Szaszy: International Civil Procedure a
med videre uanset statsborgerskab og bopæl                         Comparative Study (1967) p 649, Louis Chatin:
                                                                   Entraide Judiciaire Internationale en matiere civile,
samt anerkendelse og fuldbyrdelse af uden-
                                                                   commerciale et administrative           (1978) p 883 og Trolle
landske domme, foretrækkes her betegnel-                           i UfR 1972B138. Om processtatens            egenhændige myn-
sen    »internationale         processkridta   som   fælles-       dighedsudøvelse, se nedenfor under          pkt. 2.
nævner        for de behandlede           forkyndelser        af

retlige og udenretlige dokumenter samt be-                            Haagercivilproceskonventionerne af 14.
                                                                   november 1896, 17. juli 1905 (bekendtgørel-
visoptagelse og lignende retsskridt i borgerli-
                                                                   se nr. 119 af 19. maj 1909 (A)) og 1. marts
ge sager.
                                                                   1954 (bekendtgørelse nr. 33 af 7. juni 1960
      Den   mere   omfattende sammenkædning af emner sker
                                                                    (C)) var i mange år de dominerende rets-
ikke blot terminologisk, men også i mange traktater (jfr.
nedenfor under 1.2.) og i nogle af de samlinger af mate-            grundlag for internationale forkyndelser og
riale fra Haagercivilretskonferencerne, der i det følgen-           bevisoptagelser.
de citeres    som   »acteSa, »documentw eller »actes et docu-          Konventionen af 1896 blev helt afløst af
mentSK med årstalsangivelse. (I øvrigt benyttes den i
                                                                    1905-konventionen,             som     i    dag alene gælder
november 1984 foreliggende nyeste udgave af de citere—
                                                                    for Danmarks forhold til                   Island og Østtysk-
de danske værker). Det samme vil gælde for en kilde-

                                                                                                                                121
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land     (DDR),      hvilke lande i   øvrigt   først ved     særlige regler for de britiske baser), F iji, Le-
noter af henholdsvis 1963 og 1973 har erklæ-                 sotho, Malawi, Nauru, New Zealand, Nige-
ret at ville benytte dens regler.                            ria, Storbritannien, Swaziland, Tanzania og
   1905-konventionen og 1954-konventionen                    Tonga. I øvrigt gælder for denne konvention
afviger så lidt fra hinanden, at de i det føl-               som for Hagerkonventionerne, at en lang

gende almindeligvis vil blive omtalt i Hæng                  række nu selvstændige lande i deres egen-
som >>civilproceskonventionernea. Deres ka-                  skab af britiske, henholdsvis (for 1954-kon-

pitel I om forkyndelser er i forholdet mellem                ventionen) franske, hollandske og        måske
                                                                                                         —




en   lang række af deltagerlandene (der-                     —




                                                                portugisiske territorier har været medind-
iblandt Danmark) senere afløst af den særli-                 draget. Da de pågældende stater ofte på bag-
ge forkyndelseskonvention af 15. november                    grund af aftaler med moderlandet har frave-
1965 (bekendtgørelse nr. 15 af 13. februar                   get »clean slatea-princippet, (jfr. Alf Ross:
1970), ligesom kapitel II er afløst af bevisop-              Lærebog i Folkeret, p 173 f, og Max Søren-
tagelseskonventionen af 18. marts 1970 (be-                  sen (red): Manual of Public International

kendtgørelse nr. 117 af 7. december 1973                     Law, p 294 f og 300 ff), bør det i de konkrete
(C)). Foruden disse lande har således som
                                        —

                                                             tilfælde undersøges nærmere, om de har Væ-
det var et Væsentligt formål      også blandt
                                       —

                                                             ret og fortsat er omfattet. (Det kan oplyses,

andre Storbritannien og USA tiltrådt de to                   at Bangladesh, Indien, Kenya, Pakistan og

nye konventioner.                                            Uganda ikke er omfattet af den dansk-briti-
                                                             ske konvention).
   Efter de pr. 1. december 1984 offentliggjorte oplys-         Alle Haagerkonventionerne har bestem-
ninger regulerer 1954—konventionens kapitel I nu forhol-     melser om udvidelse til yderligere territori-
det mellem Danmark og  Jugoslavien, Libanon, Marok-
                                                             er,   men   medens 1905-konventionen         som   ud-
ko, Polen, Rumænien, Schweiz, Sovjetunionen, Spani-
                                                             gangspunkt gjaldt      for landenes       europæiske
en, Suriname, Ungarn, Vatikanstaten og Østrig. Kapitel
II har   betydning   for
                     bevisoptagelsesanmodninger     til og   områder,     hvilket i 1954—konventionen        er om-

fra de samme lande samt Belgien, Egypten, Japan og           formuleret til    »moderlandeta, har forkyndel-
Tyrkiet. Den særlige regel i 1954—k0nventionens art. 24      ses—   og   beviskonventionerne ingen sådanne
om vederlag for sådanne retsskridt i fri proces— og rets-
                                                             bestemmelser. Den dansk—britiske konven-
hjælpssager er dog (indtil Danmarks ratifikation af en
                                                             tion kræver    udtrykkelig angivelse      af de briti-
ny konvention om blandt andet dette spørgsmål) fortsat
gældende i relation til samtlige deltagerlande, det vil      ske    områder, der   er   omfattet.
sige yderligere Finland, Frankrig, Holland, Israel, Itali-         Danmark har ikke på noget tidspunkt af-
en, Luxembourg, Norge, Portugal, Sverige, Tjekkoslo-
                                                             givet særlige erklæringer, og det må derfor
vakiet og Vesttyskland.
  De sidstnævnte lande har     sammen       med Barbados,    antages, at hele riget er omfattet af konven-
Storbritannien og USA ratificeret både       forkyndelses—   tionerne, dog med den ene undtagelse, at
og beviskonventionen.                                        1905-konventionen (samt formentlig de i
  Herudover har    Belgien, Botswana, Cypern, Egypten,       henhold hertil indgåede særaftaler, jfr. Bii-
Japan, Malawi, Seychellerne og Tyrkiet ratificeret for-
                                                             low-Arnold, Internationaler Rechtsverkehr
kyndelses- men ikke beviskonventionen, og Singapore
har ratificeret bevis— men ikke forkyndelseskonventio—
                                                             in Zivil— und Handelssachen p 301) ikke gæl-
nen.                                                         der for Grønland, jfr. Ole Espersen: Indgåel-
                                                             se og opfyldelse af traktater, p 427 ff. For-

   De hidtil nævnte konventioner               betegnes      holdet til den dansk—britiske konvention fore-
ofte   som  »Haagerkonventionernea.                          kommer    dog tvivlsomt.
   En     væsentlig, men noget overset          konven-         Haagerkonventionerne åbner mulighed
tion   om   blandt andet de    samme emner er        den     for tillægsaftaler om lempelse af forskellige
dansk—britiske civilproceskonvention. Den                    krav med hensyn til fremsendelse og over-
kan i dag antages at gælde i relation til Au-                sættelse af dokumenter m.v., og det gælder
stralien, Bahamas, Canada, Cypern (med                       som et almindeligt princip, at aftalerne beva-



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rer gyldigheden, selvom en ny konvention er-                       le   virkninger. Derimod                    kan det forekomme
statter den oprindelige. (Ofte vil den nye                         tvivlsomt,          om     en     territorialstat før straf-
konvention dog begrænse eller helt fjerne til-                     spørgsmålets             afgørelse vil      forpligtet til
                                                                                                                 være

lægsaftalernes betydning).                                         at imødekomme               en    anmodning om bevisop—
                                                                   tagelse        som       den, Østre landsret i UfR
                                                                   1924188 lod udstede i den   borgerlige rets—
  Danmark har       —


                             nogle tilfælde uden egentlig
                        omend i
tilknytning  til konventionerne    indgået relevante afta-
                                       —


                                                                   plejes former. Forarbejderne synes på en
ler med de nordiske lande, Frankrig, Luxembourg, Isra-             gang at ville udelukke alle straffesager og
el, Polen, Vesttyskland og Østrig. Aftalernes retsvirk-
                                                                   medtage alle sager med et civilretligt ele-
ninger vil blive skitseret på de pågældende steder i det
                                                                   ment, jfr. actes 1904 p 84, men meget kan
følgende.
    De i Danmark, Norge, Finland og Sverige indførte               tale for at holde fast ved det første af disse
love om nordisk vidnepligt hører systematisk ikke hjem-            synspunkter. (De                  nordiske traktater,               den
me i denne fremstilling, da de må antages ikke at kunne            dansk—israelske aftale og den dansk—tyske le-
benyttes ved udenlandske begæringer om bevisoptagel—
                                                                   galiseringsdeklaration omfatter derimod og-
se, men på grund af deres anvendelighed som alternativ
til de her skildrede regler skal opmærksomheden henle-
                                                                   så   straffesager).
des på dem.                                                             Fiskale sager     praksis i lighed med
                                                                                                er    i
                                                                   straffesager undtaget, (jfr. Entraide Judicia-
1.3. Konventionernes   saglige område og                           ire p 935), hvorimod person- og familieretli-

    muligheden for at gøre undtagelser ud                          ge sager, selv når de vedrører personers sta-
    fra ordre public-synspunkter                                   tus, ikke begrebsmæssigt falder uden for
Samtlige de nævnte 5 konventioner er be-                           konventionerne, jfr.              actes et documents 1964

grænset til at angå »civile eller kommercielle                     III p 278. (De særlige regler og forhold ved-

sagera.                                                            rørende de nævnte grupper af sager er dog
    Ingen af dem indeholder en nærmere defi-                       af hensyn          til   overskueligheden             ikke medta-
nition heraf, og der er end ikke taget stilling                    get her).
til, om kvalifikationen skal afhænge af pro-                            Selvom et skridt              foretages      eller      begæres
ces— eller territorialstatens ret. Af Haager-                      foretaget          i overensstemmelse med formkra-
konventionernes           forarbejder,         der under hen-      vene      konvention, af hvis saglige område
                                                                             i   en

                     sammenhæng må anta-
syn til den historiske
                                                                   det synes omfattet, antages det'normalt og-                     —




ges også at være vejledende med hensyn til                         så uden  særlige bestemmelser herom            at                   —




den dansk—britiske konvention, fremgår, at                         traktaten ikke kan forpligte en stat imod
man bevidst har undgået dette, jfr. actes                          dens ordre public. I de her nævnte konventio-
1904 p 84, actes et documents 1964 III p                           ner undtages skridt, der ville gribe ind i terri-

365 og actes et documents 1970 IV p 56.                            torialstatens »suverænitet eller sikkerheda.
                                                                   Bestemmelsernes rækkevidde                             i   øvrigt   ikke
a.st.   (Når Nagel (p 76) hævder,                at   processta-                                                    er

tens ret er af      gørende,      er   dettesærlig tysk
                                                en                 fastlagt, men selvom det ikke kan antages,
holdning, som ikke            vandt tilslutning blandt             at foranstaltninger ligefrem skal være til fare

de øvrige stater).                                                 for statens         eksistens,         er   der tale       om en snæ-

  Det synes imidlertid at skulle være afgø-                        ver    international ordre              publicklausul.
rende, om sagsgenstanden og således hver-  —




                                                                        Som teoretiske       eksempler anføres    forkyndel-
                                                                                                                    normalt
ken den dømmende              myndighed          eller proces-
                                                                   se   afstævninger        mod statsoverhovedet eller
                                                                                                                   optagelse
formen     —


               er   af   civilretlig       karakter. Herefter      af vidneforklaringer om militære anlæg. Også i andre
må   fremgangsmåden normalt kunne finde                            tilfælde vil et dokuments undergravende eller pornogra-
anvendelse også i en dansk adhæsionsproces,                        fiske karakter f .eks. kunne forhindre forkyndelse, og fra

når den processuelle sammenhæng med                                praksis kan nævnes polske afvisninger af tyske retsan—
                                                                   modninger, der omtalte de nu polske dele af det tidlige-
straffesagen ikke (længere) materielt kan gi-                      re Preussen ved tyske stednavne eller som værende »for

ve det pågældende processkridt nogen pøna—                         tiden under polsk administrationa, jfr. Nagel, a.st. p 191                .




JURISTEN 1986                                                                                                                              123
                                                           ur.
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     I   forkyndelses-   og   bevisoptagelseskonven-
                                                                 .l-lIln-il-l-H"
                                                                 1893 p 64) eller den internationale postkon-



                                                                 nå......
tionerne      er   det forhold, at territorialstaten             Vention kan antages at hjemle en ret til at
alene vil anerkende sine egne domstole som
                                           …._….
kompetente i sagen, eller at processen tilsig-
                                                                 forkynde dokumenter ved          at sende dem med
                                                                 brev til udlandet, og både civilproceskonven—



                                                                 ….ÆmäW
ter et i    territorialstaten    uopnåeligt resultat,            tionerne og forkyndelseskonventionen giver
udtrykkeligt undtaget          fra ordre
                                            ....
                                       publicforbe-              [.
                                                                 i henholdsvis art. 6, stk. 2,     jfr.   stk. 1,   nr.   1,
holdet. Dette synes i overensstemmelse med                             10, litra a, territorialstaten ret til at
                                                                 og art.
de tidligere konventioners motiver, jfr. actes                   modsætte sig forkyndelse på denne måde.




-.….Æuää
1894 p 52, men praksis har             øjensynlig vist           Danmark har imidlertid ikke              rejst   indven-
et behov for en klar udtalelse         herom, jfr. ac-           dinger    mod                        ......
                                                                                fremgangsmåden, og postvæse-
tes et documents 1964 111 p 124.                                 net kan    således benyttes til forkyndelse af
   Det må tilføjes, 'at de generelle ordre pu-          |        udenlandske dokumenter i Danmark.._....
                                                                                                   Ad-


l.....alrlnullläll.
111%
blic-forbehold i realiteten suppleres ganske                     gangen synes efter          forkyndelseskonventio-


     ln."
effektivt af
retsregler
             henvisninger
           for

                  li..I.I-J.._l.l
                                 til territorialstatens
               så vidt angår udførelsesmåden.
                                                                 nens

                                                                 som

                                                                 som
                                                                          forarbejder
                                                                        anbefalet eller
                                                                                        at   omfatte fremsendelse
                                                                                             almindeligt
                                                                      telegram, jfr. actes et documents 1964
                                                                                                             brev eller



EEIWHILF l._u..l___1-..-....-.l_l.-u__._..
1.4. Forholdet mellem de
         nationale   regler
                                   folkeretlige    og de         111 p 82 f. Derimod forpligter konventioner-
                                                                 ne næppe Danmark til at lade postbude ud-

Set ud fra      en
                     national synsvinkel    er    gælden-        fylde de i retsplejeloVens % 155, nr. 2, nævnte
de ret    afhængig    af de enkelte landes       opfattel-       afleveringsattester. I denne relation må em-
se   og          af de rammer, som konven-
          udfyldning                                             bedsmanden principielt opfattes som en
tionerne og den almindelige folkeret lægger
for deres virksomhed som proces— eller terri-
torialstat.
     Haagerkonventionerne forpligter             i realite-
                                                                 ...-J....
                                                                 stævningsmand, hvis medvirken efter den
                                                                 danske tiltrædelseserklæring til forkyndelse-
                                                                    .…_.___...-..._...-_
                                                                 skonventionen er udelukket, jfr. herom nær-
                                                                 mere   nedenfor under 3.2.




.HWWÆHÆ .....iqu....
ten alene territorialstaten til at åbne

hed for   foretagelse af de nævnte proces-
skridt, hvorimod dette lands formregler re-
spekteres i meget Vidt omfang. Man har til-

        UuHmJF—ul…..xl…
 svarende undladt
._.-I....-               gribe ind i processtatens
                         at
                                                   mulig-
                                                                 2.2. Diplomatisk og konsulær forkyndelse
                                                                 Det er et sædvanligt led i en diplomatisk og
                                                                 konsulær repræsentations opgaver at vareta-
                                                                 ge udsenderstatens og dens borgeres interes-
                                                                 .I.|-|
regler     om
             ähfifll:
                behovet for skridtets foretagelse
og kravene til udførselsmåden.
                                                                 ser og at holde kontakt med de borgere, der

                                                                 har ophold i modtagerstaten. Alligevel kan
   Forkyndelseskonventionen indeholder i                         modtagerstaten som udgangspunkt drage
art. 15 og 16 nogle relativt detaljerede regler                  grænserne for repræsentationens funktioner,
om afsigelse af udeblivelses-domme og senere                     og hverken den almindelige folkeret eller
genoptagelse. Anvendelsen af disse regler,                       Wienerkonventionen          om   konsulære forbin-
om hvis indhold, (som synes at kunne rum-                        delser(jfr. bekendtgørelse nr. 83 af 11. de-
mes inden for retsplejelovens tilsvarende be-                    cember 1972 (C)) giver de udsendte embeds-



   ål.
stemmelser), der henvises til konventionen,
forudsætter imidlertid, at der efter proces-



  .....
statens interne regler skulle "ske forkyndelse
i udlandet.
                                                                 mænd en ubetinget ret til at foretage nogen
                                                                 former for forkyndelse over for personer på
                                                                 modtagerstatens territorium, jfr. Nagel, a.st.
                                                                 p 73.




      äå.
                                                                   Wienerkonventionens art.         5, litra j, giver
2. Processkridt        foretaget   i Danmark uden                konsulen ret til at
                                                                                   videregive (»transmettrea,


.…                                                               »transmita) judicielle og ikke—judicielle do-
     det danske retsvæsens medvirken
2.1. F orkyndelse gennem postvæsenet                             kumenter i overensstemmelse med interna-
Hverken den almindelige folkeret (jfr. actes                             Ill.;
                                                                 tionale aftaler eller på en anden med modta-

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gerstatens regler forenelig måde. Danmark                   actes et documents 1964 111 p                 83, 89, 95,
har ved ratifikationen erklæret        sig indforstå-       232 og 372 samt actes et documents 1968

et med     foretagelsen   af disse   handlinger i ci-       IV p 150 og det nedenfor under 2.3. om for-
vile og kommercielle sager, men det fore-                   tolkningen     af det tilsvarende      udtryk     i bevis-

kommer noget tvivlsomt, i hvilket omfang                    konventionens art. 15 anførte.
udsender—  (og her proces—)staten kan tillægge
                                                              Disse   betragtninger gælder a fortiori for så vidt angår
modtagelse eller afvisning af dokumentet                    civilproceskonventionerne, som end ikke indeholder be-
retsvirkning, da bestemmelsen ifølge FT                     skyttelsesregler vedrørende udeblivelsesdomme svaren-
1971-72 A sp 679 ikke hjemler forkyndelse                   de til forkyndelseskonventionens art. 15 og 16, hVis be-

(jfr. Ole Olsen: Den honorære konsul, p 61).                tydning i øvrigt i forvejen er stærkt begrænset af det
Konventionen      er   transformeret ved lov    nr.   67    spillerum, der traditionelt gives processtaterne ved af-
                                                            gørelser om konventionernes anvendelighed, jfr. pkt.
af 8. marts 1972.                                           1.4,
     Civilproceskonventionerne giver          i art 6,        Den danske tiltrædelse af og    holdning til de oven-
stk. 2, jfr. stk. 1, nr. 3, processtaten       en     ret   nævnte internationale aftaler har for så vidtangår diplo-
                                                            matiske og  konsulære  forkyndelser i Danmark   i almin-
til forkyndelse uden tvang for egne statsbor-
                                                            delighed hjemmel i lov nr. 75 af 12. april 1911 om for-
gere. Da Danmark har modsat sig, at forkyn-                 kyndelse af stævninger i udlandet m.v., hvorefter sådan
delse sker i videre omfang, kan konventio-                  overenskomst kan indgås under forudsætning af gensi-
nernes     bestemmelse herom ikke finde        anven-       dighed.
delse her i landet.                                            Hvor der ikke foreligger en sådan aftale om gensidig-

                                                            hed, må det overvejes, om forkyndelsesloven efter den
   Ifølge forkyndelseskonventionens art. 8                  formelle lovs princip medfører, at der må kræves særlig
kan forkyndelse uden tvang ligeledes altid
                                                            lovhjemmel, jfr. Max Sørensen: Statsforfatningsret, p
ske over for processtatens borgere, og da                   202. På baggrund af lovens formulering og forarbejder

Danmark ikke har afgivet nogen erklæring                    samt  bemærkningerne til loven om konsularkonventio-
                                                            nen (jfr. FT 71-72 A a.st.), må det dog nærmest antages,
i denne relation, kan de heri deltagende lan-
                                                            at der ikke herved er taget stilling til administrationens
de yderligere lade tilsvarende forkyndelse
                                                            meddelelse af enkeltstående eller mere generelle tilla-
ske   over    for alle andre personer.                      delser, så længe der ikke opstår en egentlig forpligtelse
     Den     dansk—britiske konvention        hjemler       for Danmark. Denne opfattelse synes fulgt i praksis, og

                                  for såvel proces-         den danske undladelse af at afgive en begrænsende er-
konsulær  forkyndelse over
statens som tredjestaters borgere.
                                                            klæring efter forkyndelseskonventionens art. 8, stk. 2
                                                            må, da den til enhver tid kan ændres, betragtes som
   Haagerkonventionernes krav om, at for-                   et udslag heraf, jfr. actes et documents 1964 111 p 234.

kyndelse skal ske »uden tvanga synes alene
at repræsentere en gengivelse af territorial-               2.3.    Diplomatisk eller konsulær
højhedens grundsætning, jfr. f.eks. actes et                        bevisoptagelse.
documents 1964 111 232. Umiddelbart inde-                   Den     almindelige folkeret giver heller         ikke de

bærer dette     derfor, således   som   det   også    må    faste repræsentanter lov til at optage bevis
Være    tilfældet for den dansk—svenske traktat             i modtagerstaten (territorialstaten), og Dan-
af 1912, der    gensidigt hjemler ubegrænset                mark har i relation til såvel konsularkonven-

adgang   til forkyndelse, (jfr. bekendtgørelse              tionens art. 5, litra      civilproceskonven—
                                                                                      j,   som

nr. 48 af 14. marts 1912), og den dansk—briti-              tionernes art. 15, og bevisoptagelseskonven—
ske konvention, at processtaten ikke kan ud-                tionens kapitel II, afgivet erklæringer, hvor-

øve egentlig magt ved forkyndelsen. Der-
                                                            efter sådanne handlinger i hvert enkelt til-
imod må det antages, at det hverken er ude-                 fælde kræver tilladelse.

lukket, at processtatens domstole tillægger                        Ansøgninger herom, (der,          hvis de frem—

et forsøg på forkyndelse retsvirkning, selvom               kommer fra stater, der ikke har ratificeret
adressaten nægter at modtage dokumentet,                    forkyndelseskonventionen, i overensstem-
eller at forkyndelse gennemføres ved afleve-                melse med       almindelig      folkeret bør     indgives
                                                                        udenrigsministeriet),             efterjustits
ring til andre end adressaten personligt, jfr.              gennem                                   er



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                                                                                                                   125
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 ministeriets faste praksis igennem årtier nor-            9, jfr. nærmere nedenfor under pkt. 2.4.
 malt blevet afslået, da man af principielle                  Den eneste lov, der kan siges at tage stil-
 grunde må nære afgørende betænkelighed ling til diplomatisk og konsulær bevisopta-
 ved fremgangsmåden, (cfr. Hans Smit (ed):                gelse i Danmark, er den ovenfor nævnte lov
 International Cooperation in Litigation: Eu-             om konsulære forbindelser, som under hen-

 rope, p 63, A Philip: Danish-American Pri-               syn til bemærkningerne til forslaget i FT 71-




;»fä
 vate International Law p 35 og actes et docu—            72 a.st. må formodes at have godkendt den
 ments 1968 IV, p 71, men jfr. sidstnævnte                skildrede administrative praksis, som kan
 p 129). Dette skyldes navnlig, at den fore-              udmøntes i sagligt begrundede konkrete el-
kommer væsentlig mindre betryggende end                   ler generelle tilladelser.
den nedenfor under 5.2. beskrevne metode,                     Reglerne i straffelovens 55 158-162 kan
hvorved bevis ret hurtigt, let og billigt kan             ikke finde anvendelse i de pågældende situa-
optages ved danske domstole. Ved afgørel-                 tioner, da der ikke er tale om en domstol,
sen    vil både begrundelsen for ønsket og de             ligesom der ikke vil eksistere en i dansk ret
tilbudte garantier for parternes og vidnernes             anerkendt pligt til at afgive forklaring eller
retssikkerhed blive tillagt betydning, og hvis            ret til at gøre dette på tro og love eller lignen-
tilladelsen rent undtagelsesvis gives, kan der            de måde. En undtagelse må dog muligvis føl-
stilles betingelser med hensyn til handlin-               ge af den dansk—britiske konventions bestem-
gens foretagelse, jfr. bevisoptagelseskonven-             melse om den beskikkedes adgang til at mod-
tionens art 19. En anmodning om tvangs-
mæssig     bistand                                                          "%
                                                          tage edsaflæggelse. Såfremt man som Oluf
                     (jfr. art. 18) kan næppe tæn- Krabbe (kommenteret straffelov, p 77), men



                                    lä:-
kes imødekommet.                                          modsat Vagn Greve, B. U. Larsen og Per


    Det har væsentlig betydning for den danske holdning   vil lade reglerne i….                  -::-*
                                                          Lindegaard (kommenteret straffelov, p 107)
                                                                               lovens kapitel 17 omfatte

ten uanset formuleringen »uden      .!!!
til diplomatisk og konsulær bevisoptagelse, at
                                               processta—
                                    tvang i Haagerkon-
                                                          udenlandske myndigheder,
                                                          som i øvrigt && 163-164
                                                                                   '"
                                                                                     anvendelige
                                                                                                 ':15'
                                                                                          er % 161

                                                                                                   her.
                                                                                                       —




                                                                                                        lige-
                                                                                                         Det
                                                                                                                      '


                                                 |::-'Ii-
ventionerne ikke vil være forhindret i at sanktionere
nægtelser af at medvirke, (jfr. actes et documents 1968   må inden for de almindelige folkeretlige
W p 149f og 216), således at alene det

keretlige
                                       almindelige fol-
       forbud mod egentlig magtanvendelse på frem-
med territorium
                                                       ”"—"if
                   respekteres, (jfr. actes 1904 p 72 og
                                                             rammer

                                                          hvorledes
                                                                   antages
                                                                            _..Æ
                                                                               at stå
                                                                              processtaten
                                                                        den eventuelt vil
                                                       "' disse forhold, jfr.
                                                                                               for,
                                                                                  strafsanktionere
                                                                                  documents
                                                                                                    frit


                                                                                                           1968
actes et documents 1968 IV p 67). Selvom strafansvar

normalt ikke vil blive aktuelt, kan i alt fald parternes
                                                          rr-"l-mnu-n-r-
                                                             IV p 73.
                                                                                 actes et



stilling i en proces blive påvirket, jfr. Bangert, Due og                                          '
                                                                                                                  !
Philip i NTflR 1971 p 333.                                   2.4. Andres retsskridt:
                                                             Medens    reglerne om diplomaters og konsu-
   Den danske modstand mod sådan               bevisop—      lers forkyndelse og bevisoptagelse, (uanset
tagelse gælder også        uden for konventioner-            at der principielt må foreligge en internretlig
nes område, og den må
                       på grund af omgåel-                   hjemmel), må udformes og sanktioneres i
sesfaren antages at være uafhængig af, om                    overensstemmelse med folkeretten, vil der
initiativet   —

                  formelt eller reelt   —



                                            tages af   re-   over for andre personers handlinger være bå-

præsentationen,   part eller en tredjemand.
                      en                                     de behov og mulighed for at reagere på an-
  Det særlige behov for optagelse af bevis                   den måde, såfremt de ønskes forhindret.          '




på anden måde end gennem danske domsto-                          Det må dog ud fra formålsbetragtninger
le, som kan foreligge, når processtaten er et                antages, at de forbud, der følger af de under
såkaldt »common laWa-land, hvis kompeten-                    2.2. og 2.3. anførte regler, som udgangs-
ce- og formregler afviger
                            væsentlig fra de                 punkt i mangel af udtrykkelige konventions-
danske, er imidlertid i nogen grad imøde-                    bestemmelser herom må gælde analogt for
kommet i den dansk-britiske konventions art.                 tilsvarende skridt, der på fremmede myndig-

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heders initiativ eller med disses             godkendelse         IV p      71).   Den   pågældende,    som   eventuelt
uden dansk tilladelse foretages af andre per-                     kan      processtatens konsul, udpeges af
                                                                        være

soner her i landet, således at også disse vil
                                                                  den domstol, hvor sagen verserer, og han kan

være folkeretsstridige. Uanset en stats inter-                    tilsige såvel statens egne som territorialsta—
                                 vil den således kunne            tens borgere og optage enhver form for be-
ne'   kompetenceregler
blive   ansvarlig        for sine domstoles handlin-              vis, der    er   tilladt efter territorialstatens ret.
                                        alsta—                    Beviset optages på den i processtaten benyt-
ger, såfre mt der h erved mod territori
tens vilje sker en egent lig m yndighe dsud-                      tede måde, og parterne har ret til at være

øvelse, jfr. Alf Ross: Folkeret p 292, En—                        til stede eller lade  sig repræsentere ved per-
traide Judiciaire p 934 og actes et docu-                         soner,    der er mødeberettigede i et af landene.
ments 1964 III p 125.                                                  Denne konvention imødekommer i mod-

  Det må forekomme noget tvivlsomt, om                            sætning til beviskonventionen det danske
en fremmed stat kan vælge at lade forkyn-
                                                                  krav om fuldstændig frivillighed, idet det i

delse ske ved        enudpeget person i til-
                           dertil                                 art. 9, stk. 5, er bestemt, at vægring fra den

fælde, hvor der er hjemmel for diplomatisk                        tilsagtes side hverken må medføre straf eller
eller konsulær forkyndelse. I alt fald folke-                     anden skadevirkning for ham i relation til

retligt forekommer det dog mest nærliggen-                        processen. Folkeretligt er de mange omfatte-
de at slutte modsætningsvis fra traktaternes                      de stater således       forpligtede   til at sikre den-
                                                                     bestemmelses overholdelse i deres retssy-
udtrykkelige bestemmelser om disse forkyn-                        ne


delsesmåder, således at denne fremgangs-                          stem. I andre tilfælde vil Danmark til gen-

måde, der er uomtalt i Haagerkonventioner-                        gæld   hverken kunne forhindre eller proteste-

ne, vil være folkeretsstridig. Ifølge
                                         den                      re   imod, at en handling, der er foretaget på
dansk-britiske konvention art. 4, stk. 1, nr.                     en    efter dansk retulovlig måde, tillægges
2, kan en af procesretten eller en part udpe-                     retsvirkning i udlandet, jfr. forudsætningsvis
                                                                  actes et documents 1964 111 p 14ff.
get person derimod forkynde i samme om-
                konsulerne.                                            Da der heller ikke i den interne danske
fang    som

      Bevisoptagelse        i udlandet ved     hjælp   af   en    lovgivning findes bestemmelser herom, må
sådan i overensstemmelse med                 proceslandets        det også under hensyn til, at dansk ret ikke
                                                                        —




regler udpeget »commissionem omhandles                        i   opstiller helt formalistiske kompetencereg-
bevisoptagelseskonventionens                 art.   17. Dan-      ler vedrørende forkyndelse og bevisoptagelse
mark har taget forbehold, og under hensyn                         i interne sager, men i vidt omfang overlader

til, at der over for den pågældendes eventuel-                    det til domstolene at bestemme retsvirknin-
le overtrædelse af vilkår m.v. hyppigt vil væ-                    gen ud fra de forelagte oplysninger
                                                                                                       herom

re endnu ringere reaktionsmuligheder end                          —




                                                                       antages,     at dansk ret ikke sætter     særlige
over for diplomater og konsuler, gælder de                        grænser for de internationale processkridt,
ovenfor under pkt. 2.3. refererede betænke-                       der i øvrigt kan” foretages udelukkende på
               her       fortiori.                                initiativ og under medvirken af private per-
ligheder             a

      Den      dansk—britiske         konvention hjemler          soner, jfr. Smit, a.st. p 60. Der synes heller

som     den,   eneste af Danmark        indgåede traktat          ikke at eksistere regler, der kan forhindre ad-
umiddelbart          en     ret til   bevisoptagelse ved          vokater eller notarer i at medvirke, f .eks. ved
commissioner.            (Den   danske    afvisning af      no-   at attestere      underskrifter eller   lignende,   men

                                                                  dette vil        kun kunne have effekt, hvis
                                                                               hyppigt
get sådant i relation til beviskonventionen
 har ikke berørt metodens                anvendelighed        i   tilsvarende bistand i form af legalisering ef-
 forholdet mellem            på den    ene   side Danmark         terfølgende kan ydes af danske myndigheder
                                                                  og eller fremmede repræsentationer,
                                                                                                       hvorfor
 og på den anden side Storbritannien og an-
 dre lande, der måtte blive dækket af begge                       der her er mulighed for at bremse eventuelle

 konventioner, jfr.          actes et documents 1968              forsøg på omgåelse.
                                                                                                                      127
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 3.   F orkyndelse i Danmark med                    kyndelse, f.eks. ved offentliggørelse eller op-
       retsvæsenets bistand                         slag i hjemlandet. Følger processtaten der-
  3.1. Generelle og principielle betragtninger      imod det traditionelle latinske system, vil
  Den afgørelse, som en myndighed træffer           der ofte blot være tale om en underretning
  med hensyn til forkyndelse af et udenlandsk       om en »fiktiw forkyndelse, der allerede be-

  dokument her i landet, må, hvad enten den         tragtes som foretaget i processtaten, og et
  giver sig udslag i en egentlig ytring over for dansk afslag vil herefter ikke have retsvirk-
  borgeren, en handling (f .eks. fysisk viderebe- ninger.
  fordring) eller et afslag, der alene rettes til       Da selv en henvendelse fra myndigheden
  den udenlandske anmoder, behandles som en         til adressaten vil kunne få retsvirkninger i
  forvaltningsakt.                                  processtaten, jfr. nedenfor under 33, er det
     Lovgivningen indeholder ingen regler, der end ikke muligt for myndigheden at vide,
 udtrykkelig fastlægger de materielle betin- hvilken afgørelse, der vil blive opfattet som
 gelser for og kompetencereglerne vedrøren- begunstigende, henholdsvis bebyrdende. Af-
 de danske myndigheders forkyndelse af              gørelsen må derfor træffes ud fra mere gene—
 udenlandske dokumenter.                            relle betragtninger, hvor også det danske
    Uanset om der (som hævdet af bl.a. Poul        retsvæsens behov for at opnå en tilsvarende
 Andersen i Dansk Statsforfatni-ngsret, p 536      bistand fra andre lande må veje tungt. På
 ff, og Max Sørensen i Statsforfatningsret, p      baggrund heraf kan det næppe undre, at så-
 209 ff) principielt kan tænkes en selvstændig     vel lovgivningsmagten som Folketingets
 anordningsmyndighed, eller dette ikke er til- Ombudsmand synes at have accepteret en
 fældet, (jfr; Alf Ross: Statsretlige studier, p   praksis, hvorefter den udøvende myndighed
 71ff, og Alf Ross og Ole Espersen: Dansk efter et skøn træffer afgørelser i disse sager,
 Statstrfatningsret, p 219ff og 421ff), Vil det og hvorefter regeringen på egen hånd kan
 afgørende for kravet til styrken af hjemme-
                                                   indgå traktater, der normerer skønnet.
 len være forvaltningsaktens intensitet i for-
                                                      Kompetencen til at træffe afgørelse er som udgangs-
 hold til borgeren, jfr. herved Poul Andersen:
                                                   punkt hos justitsministeriet, som herved kan udstede så-
 Dansk forvaltningsret, p 391f, og Forvalt-        vel konkrete som generelle tjenestebefalinger til dom-

 ningsret, almindelige emner, p 151.               stolene, hvis funktioner i relation til disse forkyndelser
    For så vidt angår videregivelse af uden-       nærmest må siges at have administrativ karakter. Mate-
                                                   rielt begrænses afgørelserne internretligt af de alminde-
 landske dokumenter, må det erindres, at sa-
                                                   lige forvaltningsretlige principper samt de ufravigelige
gen opstår ved en henvendelse til den danske       danske retsgrundsætninger, der har fundet udtryk i rets-
myndighed, som vil være tvunget til at reage- plejelovens regler om forkyndelser. Det synes ikke at
re på en eller anden måde. Reaktionens be-         have praktisk interesse at diskutere, om hjemmelen her-
                                                  efter har karakter af sædvane, stiltiende
tydning for adressaten afhænger af proces- fra                                                  bemyndigelse
                                                        lovgivningsmagten eller fortolkning af retsplejelo-
landets regler, som ofte ikke vil være den
                                                  ven.

danske myndighed bekendt.
    Hvis processtatens forkyndelsesregler ef—     3.2. Forkyndelse som i interne danske sager
ter det germanske mønster tilsigter stærk be-     Såfremt en udenlandsk anmodning kan ef-
skyttelse af modtagere af stævninger og lig- terkommes ved forkyndelse i overensstem-
nende, vil formålet med henvendelsen være,        melse med retsplejelovens almindelige
                                                                                                        reg—
at dokumentet bringes til modtagerens kund-       ler, (jfr. om disses anvendelighed RU242 i
skab på en måde, der kan tillægges retsvirk-      UfR 1924B 127 og % 10 i bekendtgørelse nr.
         i
ninger processtaten. Et afslag på anmod- 255 af 20. juni 1972 (A) om instruks for
ningen kan herefter medføre enten en forny- stævningsmænd), vil selve fremgangsmåden
et henvendelse under iagttagelse af eventuel-     ikke volde betænkeligheder. (I de af konven-
le yderligere betingelser eller en »fiktiw for-   tionerne omfattede tilfælde vil % 159 ikke

128                                                                                       JURISTEN 1986
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kunne finde  anvendelse.)                                            mæssigt i- øvrigt ikke afviger væsentligt.
   Samtlige traktater giver processtaten krav                        (Kan forkyndelsen ikke foretages, må det ge-
                                                                     nerelt formodes, at samtlige dokumenter re-
på, at territorialstaten foretager en sådan
                                                                     turneres med               erklæring herom).
forkyndelse, og en anmodning herom fra et                                                 en

ikke—konventionsland vil under forudsætning
af de almindelige betingelsers opfyldelse li-                        3.3. Forkyndelse »uden tvangq
geledes blive imødekommet. I praksis vil                             Ifølge civilproceskonventionens art. 2 kan
stævningsmandsforkyndelse                    normalt       blive     den kompetente myndighed i territorialsta-
             FT 1971-72 A sp 78ff ogjustits-
benyttet, jfr.                                                       ten      udgangspunkt nøjes med at udføre
                                                                            som

ministeriets cirkulæreskrivelse af 29. juni                          forkyndelsen ved overlevering til adressaten,
1972    (U).                                                         såfremt denne frivilligt modtager dokumen-
                                  vil beviset for
                                      forkyn-                        tet. Det samme følge r af forkynd elseskon—
  Som        udgangspunkt
delsen i overensstemmelse med    reglerne for                        ventionens art. 5 stk. 2. Metoden kan dog
                                                                                                 ,



danske sager (jfr. forudsætningsvis % 157,                           ikke benyttes, såfremt der er udtrykt ønske
stk. 3, 55 6 og 7 i stævningsmandsinstruksen                         om forkyndelse i en særlig form (jfr. 3.4.)

samt justitsministeriets cirkulæreskrivelse af                       eller    —
                                                                                  for så Vidt
                                                                                           angår civilproce skonven—
29. juni 1972), civilproceskonventionernes                           tionerne efte r ter ritorialstatens int erne reg-
                                                                                   —




art. 5 og        den dansk—britiske konventions art.                 ler (jfr. 3.2.), og betingelserne herfor er op-

3, stk. 7 bestå i         en   af dommeren         legaliseret       fyldt.
stævningsmandsattest, som                  uden for konven-               Denne     forkyndelsesform,              der ikke kendes
tionerne påføres justitsministeriets fremsen-                        i interne danske retssager, kendetegnes ved,
delsesskrivelse (jfr. nedenfor under pkt.                            at den alene kan benyttes over for adressaten

71).                                                                 personligt, jfr.          actes      1904,
                                                                                              p 86f- og actes
                                                                                                              et

                                                                     documents 1964 III p 154 og 177, og at han
  Om    en                  Luxembourg vedrørende en
             ældre aftale med                                        ikke kan udsættes for egentlig tvang. Der-
særlig tilbagesendelsesformular henvises til bekendtgø-              imod kan processtaten
relse nr. 20 af 25. januar 1912 (A).                                                                     tillægge det passere-
  Hvor dokumenterne i medfør af           1905-konventionen,         de retsvirkning som                 forkyndelse, selvom
(der   nu   er   uden større   praktisk relevans, jfr. ovenfor       adressaten afviser                dokumentet, jfr. actes
                          fremsendt i et   eksemplar,   skal dette
under 12),       alene
                   er
                                                                     1956p168,Entr aid ej udiciairep 889 og Na-
overgives til adressaten,      og der bør   om   fornødent   knyt-
                                                                     gel a.st. p 109, og i forhold til dan sk rets
tes en nærmere                     forkyndte til attesten.
                    beskrivelse af det
                                                                     almin delige for kyndel SCSregler synes der så                   -




(Ifølge civilproceskonventionerne kan forkyndelsen
godtgøres ved et modtagelsesbevis). Det samme vil være               ledes alene at li gge      forskel i, at for kyndel
                                                                                                     en                               -




tilfældet, såfremt man i andre tilfælde rent undtagelses-            se     efter retsplejelovens % 157, stk. 1, nr. 2,
vis skulle påtage sig at forkynde dokumenter, hvor en                      udelukket.
                                                                     er
bekræftet genpart mangler.
                                                                           De   tilfælde, hvor forsøget på           atfå adressa-
   Kravet         om     fremsendelse af to         eksempla—        ten til
                                                                           frivilligt at modtage                  dokumentet trods
rer,    —



                 princippet gælder alt, hvad
            hvilket i                                                hans afslag, vil medføre, at det anses for for-
der skal forkyndes, herunder retsakter, bi-                          kyndt, vil være ret fåtallige i forhold til de
lag, oversættelser o.s.v. er også indsat i for-
                                    —

                                                                     situationer, hvor               en   sådan henvendelse          er


kyndelseskonventionens art. 3, stk. 2. Selv-                         hans eneste chance for at blive bekendt med
om meningen hermed var, at den centrale                              en allerede sket fiktiv forkyndelse eller for

                                                                                             sådan uden hansw'vidende gen-
myndighed (se pkt. 7.3.) kunne beholde et                            at    undgå,      at en

                                                                     nemfø res         i processt aten, (jfr. pkt. 3. 1.). Der
eksemplar, (jfr. »actes et documents 1964 111
                                                                                                                                      -




                                  dansk prak-                        for vil fre mgangsm åden                        uden konven
p 368), tilbagesendes dette efter                                                                            (også                    -




sis sammen med den særlige formular, der                             tionshjemmel)             normalt blive         fulgt, såfremt
                                                                     de ge nerelle bet ingelser for
ifølge art. 6 skal udfyldes i stedet for den                                                                      forkyndelse   ,
                                                                                                                                    men

traditionelle attest, fra hvilken den indholds-                       ikke de særl ige          betingelser (med          hens yn til

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sprog        jfr. pkt. 8.3.) for såkaldt »tvun- lerne om den personkreds, for hvilken der
          m.v.

gena forkyndelse (som beskrevet i pkt. 3.2.        kan ske forkyndelse, inden for rimelighedens
og 3.4.)  er opfyldt. I denne   situation vil det  g ræns er kan fraviges    også udvidende dog
                                                                                              —
                                                                                                                     —




imidlertid blive oplyst over for adressaten,      u den at der kan
                                                                        knyttes retsvirkning efter
at han ikke er forpligtet til at
                                 modtage doku- % 157 8 tk. 4, til forkyndelse uden hje m mel
                                                                          ,


mentet, samt      i påkommende tilfælde
                     —




                                               at i paragraffens stk. 1, nr. 2. (Der er i
                                                                                                øvrigt
                                                         —




det under alle omstændigheder vil blive be-
                                                  næppe mange      lande, hvis  retsregler giver væ-
tragtet som forkyndt. Såfremt det ikke vi-        sentlig større mulighed herfor end de dan-
des, hvilken retsvirkning nægtelsen vil have,     ske, jfr. Nagel, a.st. p 112ff).
vil der efter den i FOB 1977        455
                                 p      og 1978       I det 0 m.fang, hvori en dan sk
                                                                                      regel ti ls igter
p  58 refererede  sag, (hvorved    metodens   an- i kke at s ikre de11 faktiske fr emkomst a f do-
vendelse i øvrigt synes godkendt), blive til-     kumentet, men at beskytte adressaten eller
budt adressaten en undersøgelse heraf, idet       andre mod en ufornøden krænkelse, der er
han dog samtidig gøres 0 pmærksom
                                          på. at uden forbindelse med bevisvurderingen i sa-
dette mu ligvis ikk e Vil m edføre uds ætte lse
                                                  gen, må det derimod antages, at en fravigel-
af eventuelle retsmøder           m.v.                           se heraf hverken er krævet af konventionerne
     Beviset for den     frivillige modtagelse           kræ-    eller tilladt af det i pkt. 3.1. beskrevne inter-
ver    ikke  bekræftelse fra den pågældende,
              en                                                 ne  hjemmels grundlag. Dette vil formentlig
jfr. actes 1904 p 86, og der forholdes på dette                  blandt andet gælde fo r 55 4, 5
                                                                                                 og 6, stk. 1
punkt i det hele taget lige som ved forkyndel—                   i :stævningsmandsinstruksen.
                                                                                               Ligeledes vil
se på normal vis, jfr. ovenfor under 3.2.                        anmodninger kunne afslås, hvis deres efter-
   Begrebet frivillig modtagelse anvendes                        kommelse vil medføre uforholdsmæssigt ad-
også i den mellem Danmark, Finland, Is-                          ministrativt besvær, og denne betragtning vil
land, Norge og Sverige indgåede nordiske                         kunne    tillægges særlig vægt,       hvis det    pågæl-
retshjælpskonvention, bekendtgørelse nr.                         dende land ikke har tiltrådt konventionerne.
100 af 15. september 1975 (C), art. 2, stk.
2, 7. pkt., (hvorimod det ikke findes i den                     3.5. Kravene        til   anmodningens         udsteder,
dans k-b ritis ke konve nti on). Det er næ
                                                PPe                      formål,
                                                                             form og indhold
sand syn ligt, at noget no rdis k land vil till                 Konventionerne vedrører anmodninger fra
                                                æg-
ge et     sådant  overleveringsforsøg            retsvirk-      myndig hede r om forkynd else eller Vi dereg i-
ning,   hvis   modtagelse nægtes.                               velse af retsl ige dokument er samt ude nretsl i-
                                                                ge dokumenter, der hidrører fra en re t slig t
3.4.    Forkyndelse på          særlig   af
                           en
                                                                kompetent myndighed eller             person,   jfr vej
     processtaten ønsket måde                                   ledning nr. 2l af 28. januar          1970    (A).
Ifølge art. 3, stk. 2, i civilproceskonventio—
nerne, art.3, stk. 5, i den dansk—britiske kon-                    Såfremt advokater eller andre specialister i
                                                                                                                    proces-
vention, og art. 5, stk. 1, litra b, i forkyndel-               staten er tillagt en særlig kompetence til at lade
                                                                                                                   foretage
seskonventionen kan processtaten anmode                         forkyndelser, vil de ifølge forkyndelseskonventionens
                                                                art. 3på egen hånd kunne foranledige forkyndelse i ud-
om forkyndelse på en
                     særlig måde.                               landet, hvorimod det i alle andre tilfælde må antages,
     Dette indebærer,     at en    forkyndelsesform,            at de kun kan gøre dette efter
                                                                                                bemyndigelse fra en myn-
der ikke  forudset i dansk ret, skal anven-
              er                                                dighed, som ifølge den dansk—britiske konvention skal
des, medmindre den er i strid med danske                        være judiciel, (jfr. actes et documents 1964 III
                                                                                                                  p 183ff,
                                                                368 og 375).
retsgrundsætninger,         der    ikke       specielt    er
                                                                   Voldgiftsretter, der er nedsat eller hvortil der er ret-
knyttet til sagens behandling ved danske                        tet henvendelse alene på parternes initiativ, er ikke om-
domstole. Ud fra den almindelige regel om,                      fattet, jfr. actes et documents 1968 IV p 97.
at   processtaten bestemmer retsvirkningen af
en   handling,     må det herefter antages, at reg-                Foruden identiteten        på anmodningens         ud-

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steder skal dokumentets karakter                   fremgå af       forkyndelsen alligevel   skal søges gennem-

anmodningen,          ligeledes skal
                     som                          angive nav-      ført, eller dokumentet straks skal tilbagesen-
net og adressen på den person, som det er                          des til rekvirenten. I begge tilfælde bør det

tiltænkt, samt oplysninger om sagens eventu-                       nævnte forhold klart angives.
elle parter m.v., jfr. nærmere civilproceskon-                        (Der er på europæisk plan fremsat forslag
ventionernes art. 1, stk. 1, og den dansk—briti-                   til en fakultativ udvidelse af forkyndelses-
ske konventions art. 3, stk. 2.                                    konventionens oplysende formular).
  Efter      forkyndelseskonventionens                art.   3,
skal                                 udstederen, parterne,         4.      Forkyndelse    af danske dokumenteri
       oplysningerne            om

dokumentets art og formål m.v. angives på                                  udlandet

en særlig formular, der forkyndes for adres-                       4.1. Behovet

saten   på samme måde som selve dokumen-                           Ifølge retsplejelovens %      158 skal   forkyndelse
tet, jfr. art. 5, stk. 4. Endvidere skal selve                     ske i   udlandet,   hvis adressaten har kendt bo-

anmodningen udfærdiges på den formular,                            pæl    eller   opholdssted der,forkyndelse ik-
                                                                                                     og
                                                                   ke kan ske i Danmark efter reglerne i 5 155,
hvorpå rekvirentens navn og adresse, adres-
satens navn og       adresse samt den ønskede for-                 nr. 2 og 3, jfr. & 157. Da retsplejelovens &&


kyndelsesmåde er angivet. (Den ovenfor un-                         348, 351, 373 og 376 forpligter parterne i
der p—kt. 3.2.-3.4. omtalte attestation sker på                    en    retssag til   som   led i
                                                                                            skriftvekslingen at
bagsiden af denne formular. Også den
                           ||                                      angive en indenlandsk adresse, hvor meddel-
dansk-luxembourgske aftale indførte formu-                         elser og forkyndelser kan modtages, har be-

lartvang.)                                                         stemmelsen dog kun betydning i relation til
   Såfremt modtagerens egentlige adresse                      —
                                                                   de pågældende for forkyndelse af stævninger
det vil sige ikke blot en p-ostboks-adresse el-                    og egentlige udeblivelsesdomme (i begge
                                                                                                              in-

ler lignende     ikke kan oplyses, er ingen af
                 —

                                                                   stanser), hvortil kommer, at den tilknytning,
de omhandlede konventioner anvendelige.                            som begrunder værneting her i landet, hyp-

Der påhviler principielt ikke territorialsta-                      pigt vil være ensbetydende med, at der også
ten nogen pligt til at eftersøge modtageren,                       kan ske forkyndelse i Danmark, jfr. f.eks.

såfremt han er flyttet, eller den oplyste                          UfR 1923 266 Ø og 1980640 V.
adresse er ufuldstændig, men i Danmark                               Reglerne om forkyndelse i Danmark for
                                                                                                      i   udlandet,        i
som     formentlig     i   en    del andre konventions-            personer, der       opholder sig                   er


stater vil   dette i   praksis        normalt ske i    samme       overensstemmelse med traktaternes            princip
omfang     i interne sager,
           som                             jfr.   actes et do-     om      at overlade det til de enkelte stater at

cuments 1964 III p 124.                                            afgøre,    modtagerens tilknytning til ud-
                                                                              om

   Selvom det ikke              er   udtalt direkte i andre        landet kræver forkyndelse der, jfr. actes et
internationale overenskomster end forkyn-                          documents 1964 III p 159.
delseskonventionen, skal formålet med hen-
vendelsen til adressaten fremgå, hvilket er                        4.2. Forkyndelse gennem territorialstatens
nødvendigt dels for hans mulighed for at rea-                           myndigheder med konventionshjemmel
                                                                   Alle konventioner giver processtaten et krav
gere, dels for at den kompetente myndighed
kan overbevise sig om, at anmodningen op-                          på de stedlige myndigheders bistand ved for-
fylder de ovenfor. under pkt. 1.3. angivne                         kyndelsen, og såfremt forkyndelsen er sket
krav.                                                              i overensstemmelse hermed, vil den ifølge %
   Såfremt formålet med                  anmodningen         sy-   158 være gyldig efter dansk ret.
nes    at være    at       fremkalde       en     reaktion fra        Benyttes den ovenfor under 3.3 beskrevne
adressaten, og dette viser sig umuligt, idet                       fremgangsmåde, hvor adressaten personligt
en eventuel tidsfrist er overskredet, må det                       opfordres til at modtage dokumentet »uden
bero på en fortolkning af henvendelsen, om                         tvanga, vil dette her i landet formentlig kun

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blive tillagt retsvirkning som en forkyndelse,                    dansk  repræsentation (jfr. 7.1.-7.3.) vil den-
hvis han modtager det.                                            ne bekræfte såvel identiteten og kompeten-

  Et krav om forkyndelse efter de for ved-                        cen hos erklæringens udsteder som hjemme-

kommende lands interne retssager gældende                         len i territorialstatens lovgivning, hvilket i
regler har hjemmel i civilproceskonventio—                        øvrigt også bør fremgå af selve erklæringen.
nernes art. 3, stk. 2, 1. pkt., forkyndelseskon—

ventionens art. 5, stk. 1, litra a, og den dansk-                     Af   samme     grund bør dokumenter, der skal forkyndes
britiske konventions art. 3, stk. 5. Om sådan                     i Island eller     Østtyskland, fremsendes i to eksemplarer,
                                                                  således at det      ene   i medfør af l905-konventionens art.
forkyndelse kan eller skal ske for den pågæl-
                                                                  5, stk. 2, kan
                                                                               tilbagesendes sammen med den udførende
dende personligt, for andre personer, hvis til-
                                                                  myndigheds erklæring. Opmærksomheden henledes på,
knytning til ham i større eller mindre grad                       at det overfor stater, der følger forkyndelseskonventio—

afviger fra den i retsplejelovens % 157, stk.                     nens     intention med kravet          om   dobbelt fremsendelse,
                                                                  kan blive   nødvendigt        at   fremsende tre
                                                                                                         eksemplarer, så-
 1, nr. 2, jfr. stk. 2, angivne eller ved en »fik-
                                                                  fremt et   eksemplar efter udtrykkelig begæring herom
                                                                                            —




tiw forkyndelse, f.eks. offentliggørelse, af-
                                                                  —


                                                                    ønskes returneret sammen med den udfyldte formu-
hænger efter formuleringen af % 158 af terri-                     lar, jfr. pkt. 3.2.
torialstatens nationale regler.
    Henvisningen i % 158 til konventionernes                          Anmodninger               om     forkyndelse     efter kon-
regler kan ikke antages at omfatte enhver                         ventionerne kan uden tvivl fremsættes af
særlig fremgangsmåde, som territorialstaten                       domstolene,          hvorimod andre
                                                                                                   myndigheder,
i medfør af bestemmelserne i civilproceskon-                      der      —


                                                                               som    f.eks.
                                                                                     forbrugerklagenævnene                       —




ventionernes art. 3, stk. 1, 1. pkt., forkyndel-                  træffer afgørelse i civilretlige tvister, næppe
seskonventionens art. 5, stk. 1, litra b, og den                  er omfattet, jfr. Practical handbook on the

dansk-britiske konventions art. 3, stk. 5, ef-                    operation of the Haque Convention of 15.
ter   anmodning          kan   følge.   Disse bestemmel-          november 1965 (1983), p 53, men cfr. actes
ser er     så   brede,   at   de ikke foreskriver     en   for-   1904 p 84.
kyndelsesmåde, og de giver derfor ikke selv-
5                                                                   Danske advokater kan kun               på en domstols
                  F % brt...
stændig hjemmel efter    158. Bl.a. kan de                        vegne anmode om                forkyndelse efter konven-
E..
danske regler '              .!
              om forkyndelse for husstands-                                 [.l kravene til
                                                                  tionerne. Vedrørende  Ill'anmodnin-
|__|.m.v.
medlemmer     .....l|.._l...lll...
                 ikke på denne måde over-                         11%-
                                                                  gens formål, form og indhold i øvrigt henvi-
føres, idet der ikke           er   grundlag   for   analogi,     ses   til de   almindelige bemærkninger                 ovenfor
jfr. % 157, stk. 4.                                               under 3.5.
     Traktatbestemmelserne kan derimod

äth.1..f.
vendes til at sikre bevis for             gennemførelsen
                                                           an-


                                                                  ...u.........F...HF..-uut
                                                                      Drejer det sig        stævning, der frem-
                                                                                                om en

                                                                  sendes gennem en dansk repræsentation i ud-
af    en   forkyndelse, der

.....Hu.....n..
i konventionen eller i
kyndelsesregler.
                                    i øvrigt har hjemmel
                                    dansk rets øvrige for-
                         Dette kan blive
di domstolenes krav til beviset for
                                               aktuelt, for-
                                                en   korrekt
                                                             -ÆIMMlandet, bør domstolens berammelsespåteg-
                                                                  ning af hensyn til fristen Være forsynet med
                                                                  en bemyndigelse for repræsentationen til at

                                                                  omberamme den. (Nogle lande accepterer

                                                                ”..-hit..….
ää.
forkyndelse ikke kan antages at være regule-                      dog ikke denne fremgangsmåde).
ret af henvisningerne i % 158. Principielt er
                                                                  ...:...I
de danske domstole derfor ikke forpligtet .
at lade sig overbevise af den dokumentation,
Eli...
som normalt benyttes
              E!
                                              til


                       i territorialstaten. Iføl- [__|-[
                                                                  J.H.E….IIE
                                                  4.3. Forkyndelse gennem territorialstatens
                                                       myndigheder uden konVentionshjemmel
                                                  Konventionerne må antages at regulere kor-
ge konventionerne vil der af den forkyndede

      li-"l'hj-Ili.                                               älvä
                                                  respondancen mellem de pågældende landes
                                                                  änäifu
myndighed blive afgivet en erklæring om myndigheder, men de forhindrer ikke dan-
forkyndelsesmåden og tidspunktet, jfr. pkt. ske advokater eller private i at rette direkte
3.2.)                                                             "”.-151».
                                                  henvendelse til myndighederne ..It.
                                                                                   i det pågæl-
     iLiIll...h-...|h1|f.llF.-Ii
   Tilbagesendes   dokumentet      gennem en      dende land for at få disse til at foretage en

_.I
132                                                                                                             II
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forkyndelse,         der    enten  opfylder landets         kan   hjemle   konsulær forkyndelse.
interne krav eller i          øvrigt har hjemmel i             I territorialstatens lov vil der sjældent væ-

                       jfr.    Practical    Handbook        re udtrykkelig hjemmel til diplomaters eller
retsplejeloven,
                                                            konsulers forkyndelser. Såfremt forkyndelse
p 99.
  En tilsvarende           anmodning   kan fremsættes       i interne sager som f.eks. i mange common

af  private samt af de danske myndigheder,                  law-lande kan foretages af enhver, må dette
såfremt forkyndelsen skal ske i en stat, med                imidlertid    tilstrækkeligt til at bringe en
                                                                         være

hvilken Danmark ikke har nogen særlig over-                 dansk diplomats eller konsuls forkyndelse i
                                                                                                           A




enskomst. Om udfyldningsreglerne vedrø-                     overensstemmelse med % 158.
rende henvendelser fra danske myndigheder                        Sådan »direktea   forkyndelse          ved danske
i tilfælde, der ikke reguleres af aftaler eller             repræsentationer i udlandet vil ifølge In-
sædvaner, henvises navnlig til pkt. 1.1., 1.2.              struks for udenrigstjenesten, kap. VIII, af-
                                                            snit B, pkt. 2, medmindre der foreligger trak-
og 7.1.
     Om bevisbedømmelse             m.v.   henvises til     tathjemmel, alene blive forsøgt, såfremt der
pkt.   4.2.                                                 fremsættes udtrykkelig anmodning herom,
                                                            og såfremt territorialstaten ikke modsætter
4.4.   Forkyndelse  gennem danske diplo-                    sig det. F orkyndelsen forudsætter, uanset om
       matiske eller konsulære repræsen-                    der findes     en   traktatbestemmelse herom,

                 pågældende land
       tanter i det                                         den    pågældendes personlige  og frivillige
Danske diplomatiske eller konsulære repræ-                  medvirken, og såfremt dette nægtes, kan do-
sentanter i udlandet kan forkynde dokumen-                  kumentet efter dansk ret ikke betragtes som
ter    med      retsvirkning efter % 158,         såfremt   forkyndt. Herefter er diplomatisk eller kon-
dette      er   i overensstemmelse med territorial-         sulær forkyndelse alene en praktisk variant
statens lovgivning eller har traktathjemmel.                af retsplejelovens % 163, stk. 2, jfr. nedenfor

(Forkyndelsesloven af 1911 må på dette                      under pkt. 4.5.

punkt anses for bortfaldet på grund af rets-                   Forkyndelsen vil blive søgt godtgjort ved
                                                            en bekræftelse fra adressaten, jfr. a.st. i in-
plejeloven).
   Traktathjemmel forligger efter alle kon-                 struksen, men i tilfælde af nægtelse heraf må
ventionerne ubetinget over for danske stats-                vedkommende embedsmand             —


                                                                                                   som    under al-

borgere. Ifølge den dansk—britiske konven-                  leomstændigheder skal bevidne dette kun-           —




tion kan forkyndelse ligeledes ske over for                 ne afgive en erklæring om modtagelsen.

tredjelandes, men ikke territorialstatens
statsborgere, medens Haagerkonventionerne                   4.5. Andre reelle forkyndelsesformer m.v.
alle lader muligheden for forkyndelse for                   Ifølge retsplejelovens % 158 kan forkyndelse
begge disse kategorier afhænge af, om den                   i udlandet altid ske ved brevforkyndelse, jfr.
enkelte territorialstat ud fra sin lov eller sæd-           % 155, nr. 1. Det kan forekomme noget tvivl-
                                                                         denne bestemmelse              i strid med
vane,  (jfr. actes 1893 p 56), modsætter sig                somt,   om                             er


dette, (hvorom der efter civilproceskonven-                 Haagerkonventionens regler om, at territori-
tionerne kan og efter forkyndelseskonventio—                alstaten kan modsætte sig fremsendelse gen-
nen skal være afgivet erklæring), jfr. art 6                nem postvæsenet, og den almindelige folke-

i    civilproceskonventionerne,        art. 8 i   forkyn-   retlige regel, som må antages at have fundet
delseskonventionen og art. 4 i den dansk-bri—               udtryk heri. (I relation til forkyndelseskon—
tiske konvention.                                           ventionen har blandt andet Norge, Tjekko-

     baggrund af det ovenfor under pkt. 2.3.
      På                                                    slovakiet, Tyrkiet og Vesttyskland afgivet en
anførte vedrørende den danske opfattelse af                 sådan erklæring). Sådanne indvendinger sy-
konsularkonventionens art. 5, litra j, må det               nes    at være rettet mod      tilfælde, hvor selve
antages, at denne ikke i relation til % 158                 fremsendelsen udgør       en   forkyndelse         og der-

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med     enmyndighedsudøvelse, hvorfor de ik-                        situationer, hvor den pågældendes bOpæl el-
ke nødvendigvis gælder for den danske meto-                         ler opholdssted er ukendt, og han ikke har
de, der er baseret på modtagerens tilbage-                          kendt arbejdssted her i landet, jfr. stk. 1, nr.
sendelse af en erklæring om modtagelsen,                            1. Denne del af paragraffen kan alene anven-
jfr. actes 1893 p 64, actes et documents 1964                       des, såfremt rekvirenten har udfoldet en ri-
111 p 15ff og 82f, Entraide judiciaire p 887                        melig aktivitet for at få opsporet en sådan
og Nagel, a.st. p 72. Under alle omstændig-                         adresse,jfr. UfR 1981.393Ø. & 159 kan iføl-
heder må en sådan forkyndelse efter rets-                           ge stk. 1, nr. 2, også finde anvendelse, hvis
plejelovens formulering formentlig tillægges                        den kompetente fremmede myndighed næg-
retsvirkning her i landet, og det samme må                          ter at medvirke til forkyndelse efter % 158.
være tilfældet for så vidt angår ethvert andet                      Dette må forudsætte, at anmodningen er
tilfælde, hvor adressaten bevisligt har fået                        fremsat i overensstemmelse med               en   eventuel
dokumentet i hænde, jfr. & 163, stk. 2. Be-                         traktat og ellers med ethvert           rimeligt      krav
mærkningerne til bestemmelsen giver ikke                            i landets interne ret.
anledning til at opfatte henvisningen til 55                             Bestemmelsen kan dog formentlig benyt-
155-157        som   udelukkende dens anvendelse                    tes  analogt,     såfremt det af
                                                                                              praktiske eller po-
i  % 158-situationen, hvis forkyndelsesmåder                        litiske grunde ikke er muligt at kontakte
i realiteten svarer og delvis bygger på en hen-                     myndigheder, der har kontrol over det på-
visning til de indenlandske, jfr. herved rets-                      gældende område, jfr. RU 115 i UfR 1922B
plejerådets referat af de tilsvarende svenske                       39 og UfR 1924.893Ø.
regler i FT 1971-72 A sp 77.                                          Ved forkyndelse i medfør af                5 159,   stk.
                                                                    1,    nr.   2, skal   en   genpart af dokumentet til-
    % 163,   stk. 2, har således reelt såvel uden-   som   inden-   sendes adressaten med posten.
lands forvandlet    forkyndelsessystemet til en hovedregel
om   bevis for personlig modtagelse uanset formen, (som             5.      Bevisoptagelse       i Danmark med
dog eksemplificeres i g 155, % 156 samt 5 157, stk. 1
                                                                            retsvæsenets bistand
og stk. 3), samt nogle undtagelser, hvor forkyndelse kan
ske for andre på adressatens vegne, jfr. & 157, stk. 1,             5.1. Reglerne og deres områder
nr. 2, stk. 2 og stk. 4, idet % 158 nu alene giver selvstæn-        Ifølge retsplejelovens % 347 udføres bevisop-
dig hjemmel for så vidt angår forkyndelse over for andre            tagelse og andre retshandlinger efter anmod-
end den pågældende selv.
   Herefter vil såvel privates direkte henvendelse til
                                                                    ning fra fremmede retter efter lovens og kon-
                                                                    ventionernes regler samt så vidt muligt i
adressaten som andre handlinger, der eventuelt måtte
være i strid med traktaterne og territorialstatens ret,             overensstemmelse med              anmodningen.        Be-
kunne få retsvirkning som forkyndelse her i landet.                 stemmelsen må indenfor det her omhandle-
                                                                    de område antages at dække             også   vidnefor-
  Det må endvidere antages, at også perso-                          klaringer, partsafhøringer og syns- og skøns-
ner, der befinder sig i udlandet, Vil være bun-                     forretninger, jfr. && 190, 209 og 305, idet
det af et afkald         på forkyndelse (og varsel),                formuleringsnuancerne næppe dækker over
jfr. &  160, medmindre deres eventuelle mel-                        en tilsigtet reel forskel.

lemliggende udrejse indebærer, at de kan gø-
re bristende forudsætninger gældende.                                  Haagerkonventionerne vedrører alle    —



                                                                                                                lige som den
                                                                    dansk—britiske konvention     bevisoptagelse, men inddra-
                                                                                                  —




                                                                    ger yderligere »andre retshandlingera. Under hensyn til
4.6. Fiktivforkyndelse                                              den historiske sammenhæng må ved dette udtryk både
Retsplejelovens % 159 giver adgang til for-                         her og i & 347 forstås f.eks. forligsmægling og foreløbig

kyndelse ved offentliggørelse af en del af                          bevissikring, men derimod ikke forkyndelse, fuldbyrdel—
meddelelsen samt en begrundelse for frem-                           se, arrest, forbud og lignende, jfr. actes et documents
                                                                     1968 IV p 57, 158 fog 203, samt Bangert, Due og Philip
gangsmåden i Statstidende.                                          i NTfIR 1971 p 328. Af praktiske årsager omtales kun
  Bestemmelsens almindelige område er de                            det centrale område, bevisoptagelsen her.

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                                                                  kon-      fri proces og organisat ionen af den vede rlagsfri rets—
     Anmodningen skal ifølge samtlige                                    om


ventioner fremsættes og kunne udføres af en                              hjælp, p 49 f, og betænkn ing nr. 698/ 1973 om beh and—
                                                                         ling af borgerlige    sager, p   129).
retlig myndighed, hvilket    ligesom ordet —




»domstok i         %   347     —
                                   må   opfattes   som en          ka-         anmodninger, der falder uden for kon-
                                                                              For

rakteristik af organets reelle sammensæt-                                ventionerne, gælder fortsat & 7 i lov nr. 161
                                                                         af 18. december 1897                     retternes   medvirk-
ning og funktion, hvorved der blandt andet                                                                om


bør lægges vægt på, om det kan bruge vid-                                ning   optagelse af bevis i udlandet m.v.
                                                                                til
                                                                         som ændret ved % 1 i lov nr. 37 af 28. februar
netvang, jfr. actes et documents 1968 IV p
158 og 216 samt Entraide judiciaire p 934.                               1908 om tillæg dertil. De administrativt ud-
                                                                         stedte forskrifter indeholder i første række
(Generelt er det sikrest, at den samme per-
son har underskrevet alle dokumenter vedrø-                              en gengivelse af forskellige konventioner og

rende   anmodningen).                                                    landenes  erklæringer herom, men også en-
     Formålet med anmodningen                         skal ifølge        kelte regler af selvstændig betydning. Om

den. dansk-britiske konventions                       indledning         1905-konventionen er udstedt bekendtgørel-
                                                      art.    1, stk.    se nr. 167 af 20. maj 1932 (A) og cirkulære
og    bevisoptagelseskonventionens
                  skaffe bevis til       brug   for   en     eksistef    nr.   107 af   samme      dato til underretsdommer-
2,   være    at

rende eller forudset retssag, og Danmark har                             ne    uden for København  (M). Ifølge cirkulæ-
i medfør af bevisoptagelseskonventionens                                 re nr. 244 af 14. november 1960 (M), som

art. 23 udelukket            anmodninger         om     »pre—trial       i øvrigt ikke indeholder regler af selvstændig

discovery of documentw, hvilket nu define-                               betydning, gælder bekendtgørelsen med de
res som krav om, at nogen skal give oplys-
                                                                         af 1954-konventionen følgende ændringer

ning     om        eller     fremlægge          eventuelle          u-   også for denne, hvor også cirkulæret fra
                       dokumenter af            betydning          for    1932 må være analogt anvendeligt.
specificerede
                                       i hans   besiddelse, jfr.            Disse regler vil formentlig i praksis have
sagen, der måtte             være

                                                                         en vis indflydelse i andre tilfælde, omend de
nærmere    bekendtgørelse nr. 49 af 21. april
                                                                         næppe ligefrem kan anvendes analogt på
                                                                                                                    an-
 1982 (C)). (Formentlig kan det ikke sluttes
fra disse udtrykkelige regler, at noget sådant                           modninger i medfør af den dansk—britiske
er muligt i henhold til de øvrige konventio-
                                                                         konvention og beviskonventionen. De ikke
                                                                         direkte omfattede anmodninger skal imidler-
ner, idet afgrænsningen synes i overensstem-
melse med den almindelige retsopfattelse,                                tid normalt fremsendes gennem justitsmini-

jfr. actes et documents 1968 IV p 157, 171                               steriet, som derfor vil have mulighed for at
                                                                         træffe bestemmelse               om   udførelsen.
og 203 f).
    % 347,s beskrivelse af betingelserne for og
                                                                         5.2. Udførelsesmåden
fremgangsmåden ved udførelsen af retsan—
modningerne er navnlig med hensyn til an-
                           —
                                                                         Konventionerne tager alle ligesom                    retspleje-
modninger uden for konventionerne          ikke               —
                                                                         lovens 5% 190 og 347, 1897-lovens                    % 7 og til-
udtømmende, og der er ikke i medfør af %                                 lægslovens %     udgangspunkt i territorialsta-
                                                                                              1

 347, stk. 3, udstedt yderligere regler herom.                            tens tilsvarende interne regler. Ifølge rets-

                                                                          plejelovens % 347, stk. 1, 2. pkt., og 1897-
     Det må imidlertid på baggrund af ældre, ikke ophæ—                   lovens % 1, stk. 2, 1. pkt., skal parterne dog
vede love samt af forarbejder og fast praksis på området                  kun i tilfælde af udtrykkelig anmodning der-
antages, at det inden for lovgivningens rammer endvide-
                                                                          om tilvarsles. Denne bestemmelse supplerer
re reguleres af justitsministerielle anvisninger på
                                                    dette
                                                                          konventionernes regel om, at den anmoden-
område, hvor domstolenes funktioner traditionelt er be-
handlet som mere administrative end dømmende, jfr.                        de myndighed kan udbede sig underretning
herved Alf Ross og Ole Espersen: Dansk Statsforfat—                       om tidspunktet for udførelsen, jfr. navnlig
ningsret, p 226 ff og 531 ff Alf Ross: Statsretlige Studi-
                                   ,
                                                                          civilproceskonventionernes art. 11, stk. 2.
er, p    ff, Rt. 1897 A sp 2147f, Rt. 1930-31 A sp
        53
4892, betænkning nr. 404 / 1066 om ændring af reglerne
                                                                          (Ifølge den dansk—britiske konventions art. 8,
                                                                                                                                     135
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stk. 5,   er   det den      konsul, der har ekspederet            Disse    særlige regler må ligesom beviskonventionens
                                                                                              —




                                                                ikke af Danmark      udnyttede ret til at afgive erklæring
anmodningen, der kan bede herom. Bevisop-
                                                                om    anvendelse af de tilsvarende bestemmelser   om   Vid-
tagelseskonventionen giver i art. 7 udtrykke-
                                                                ner   i
                                                                     tredjestater, hvortil vidnet er knyttet her i landet
                                                                                                              —




lig hjemmel til, at også parterne kan bedes                     på grilnd af retsplejelovens almindelige betingelser for
tilvarslet).                                                    vidnetvang i praksis under alle omstændigheder gælde
   Ifølge samtlige konventioner har parterne                    i nogenlunde samme omfang, jfr. actes et documents

ret til at væretil stede, og domstolene må                       1968 IV p 61 og 209. Formuleringen af konventionernes

i almindelighed kunne afgøre, om det samme                      originale udgaver (på fransk og engelsk) synes at lade
                                                                det være noget tvivlsomt, om reglerne om vidner og edi-
gælder for medlemmer af den udenlandske                         tionspligtige personer også gælder for syns- og skøns-
ret, jfr. herved retsplejelovens & 31, stk. 1.                  mænd, jfr. nærmere actes et documents 1968 IV p 60f,
Det sidste spørgsmål reguleres udtrykkelig                      112ff og 208f.

af bevisoptagelseskonventionens art. 8, hvor-
efter staterne kan afgive erklæring om, at                           En   særlig anmodning    fravigelse af ter-
                                                                                                      om

medlemmer af processtatens myndighed kan                        ritorialstatens sædvanlige fremgangsmåde
være til stede. Danmark har afgivet en sådan                    ved den ønskede bevisoptagelse skal så Vidt
erklæring og benyttet sig af adgangen til at                    praktisk muligt imødekommes, medmindre
kræve forudgående tilladelse fra sine dom-                      den strider mod grundlæggende retsregler i
stole.                                                          territorialstaten, jfr. herved retsplejelovens
   Ifølge      cirkulære      nr.   107 af 20.   maj 1932       55 190 og 347 samt bevisoptagelseskonven-
beskikkes        der, undtagen ved           aflæggelse af      tionens art. 9, stk. 2.
partsed,       altid   en   advokat for     en   udenlandsk        De særlige formkrav skal således efterle-
part, og initiativet overlades herefter                 som     ves,      selvom     den    pågældende        metode    er

udgangspunkt til den part, der har foranledi-                   ukendt i dansk ret, såfremt dette alene skyl-
get begæringen fremsat. Hvis dette er en                        des en vurdering af dens egnethed til at sikre
herboende part, og han intet foretager, spør-                   betryggende bevis, og ikke at den strider
ges den anmodende myndighed, om den an-                         mod hensynet til rettens værdighed eller par-
den parts beskikkede advokat skal                  pålægges     ternes eller tredjemands personlige integri-

opgaven.                                                        tet. Herefter vil anmodningen ikke blot kun-
  Den generelle             regel   om   bevisoptagelse   ef-   ne angive en særlig kompetenceregel med

ter territorialstatens ret           medfører,     at vidne-    hensyn til Vidneafhøringen, men også at den-
afhøringer o.lign.           her i landet i de ovenfor          ne skal ske under ed, jfr. betænkning nr.

beskrevne situationer            foretages af parternes         316/ 1962       om   vidner,      p   112, hvorimod be-
repræsentanter,          men    dette kan også gennem-          stemmelserne         om    strafansvar for
                                                                                                   nægtelse af
føres af retten i overensstemmelse med tradi-                   at afgive forklaring eller falsk forklaring for
tionen i de såkaldte »droit               civil-landea, jfr.    retten ikke kan fraviges til skade for den på-
actes et documents              1968     IV, p 59, og be-       gældende.
tænkning        nr.         p 50.
                       404/1966,                                   Cirkulære nr. 107 af 20. maj 1932 (M)
  Tvang         mod Vidner og andre skal ifølge                 pålægger retterne at fastholde praksis vedrø-




r.!
konventionerne udøves i            omfang som
                                     samme                      rende afhøring af embedsmænd, jfr. Go-
i territorialstatens interne sager. Dog undta-                  mard, Civilprocessen, p 359.
ger civilproceskonventionerne i art. 11, stk.
 1, udtrykkelig parterne fra denne bestem-                      5.3. Anmodningens form og indhold
melse, og bevisoptagelseskonventionen be-                       Bevisoptagelseskonventionen indeholder i
stemmer i art. 11, at vidnefritagelses— og vid-                 art. 3 en liste over de oplysninger, som en

neudelukkelsesgrunde i begge stater kan fin-                    anmodning skal indeholde. Herefter skal den
de anvendelse.                                                  anmodende og så Vidt muligt den udførende
                                                                myndighed, parternes og deres rettergangs-
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fuldmægtiges navne og adresser, retssagens                    6.          Bevisoptagelse    i udlandet
art og genstand, en kortfattet sagsfremstil-                  6.1. Henvendelser fra danske til
ling og en beskrivelse af den ønskede rets-                        udenlandske retlige myndigheder
handling altid medtages. Herudover anføres                    Ifølge retsplejelovens % 342, stk. 1, kan en
i påkommende tilfælde de dokumenter eller                     part, der ønsker bevis optaget i udlandet,                  an-

genstande, der skal undersøges, vidnernes                     mode retten         om    på grundlag      af hans     oplys-
navne og adresser, spørgsmålene eller afhø-                   ninger og i overensstemmelse med” konven-
ringstemaerne, eventuelle edsformularer og                    tionerne at udfærdige en retsanmodning. For
andre særlige ønsker vedrørende fremgangs-                    så vidt der ikke i          en   relevant traktat findes
måden samt de for anvendelse af processta-                    tilstrækkelig detaljerede regler om udfærdi-
tens regler om vidnefritagelse og ividneude-                  gelsen, synes dette ifølge side 126 i betænk-
lukkelse         nødvendige oplysninger.?                     ning nr. 698 / 1973 om behandling af borger-
      Den dansk—britiske konventions art. 8, stk.             lige sager forsætligt at Være overladt til ret-
2, stiller i      store træk samme absolutte krav             ternes frie afgørelse, idet det synes forudsat,
til  anmodningens indhold, idet det dog                       at 55 1-6 i 1897-loven er bortfaldet. Hjem-
blandt andet ikke er nødvendigt at angive                     melen i % 342, stk. 2, til udstedelse af admini—
procesfuldmægtigene, hvorimod både par-                       strative retningslinier er ikke udnyttet, siden
ters og Vidners stilling skal fremgå. Den skal                den blev indsat ved lov nr. 260 af 8. juni
endvidere indeholde enten           en    liste   over   de   1979,

spørgsmål, der skal stilles, eller en anmod-
                                                                   'Det   har næppe   praktisk betydning,   om   denne   hjem-
ning om, at det tillades parterne at møde op
                                                              mel  kan udstrækkes til at omfatte 1932-bekendtgørel-
og stille spørgsmål.
                                                              sen, hvis gyldighed syntes forudsat ved forarbejderne
   Generelt bør enhver anmodning indeholde                    til den hidtidige & 296, jfr. Rt 1930-31A, Sp 4892, idet
sådanne oplysninger, som er nødvendige for                    bekendtgørelsen'for så vidt angår danske anmodninger
bedømmelsen af, om den truer territorialsta-                  alene giver oplysninger om konventionernes regler og
                                                              rette fremsendelsesvej samt den selvfølgelige regel, at
tens sikkerhed eller suverænitet og om den
                                                              overflødige dokumenter ikke bør medsendes. Af samme
har  traktathjemmel, samt for dens praktiske                  grund kan det heller ikke være afgørende, om den i ju-
gennemførelse. De to ovennævnte konVentio-                    stitsministeriets cirkulæreskrivelse af 15. maj 1961 (U)
ners krav svarer formentlig i store træk til,                 om direkte brevveksling med myndigheder i Norge og


hvad der på denne baggrund altid må kræ-                      Sverige angående retshjælp givne instruks om udførlig
                                                              angivelse af spørgsmålene til parter, sigtede, vidner el-
ves, selvom anmodningen i stedet fremsættes                   ler andre har egentlig hjemmel i forhold til domstolene.
med hjemmel i f.eks. civilproceskonventio—
nerne eller helt uden hjemmel.                                     I
                                                                   almindelighed må domstolenes udfærdi-
   Egentlige formkrav stilles normalt ikke                    gelse og ekspedition af anmodningerne der-
fra dansk side, men begæringen og oplysnin-                   for alene være reguleret af de krav, som ved-
gerne bør så vidt muligt være indeholdt i                     kommende territorialstat kan forventes at
samme dokument, jfr. actes et dqcuments                       stille.
                                                                    (Der gælder ikke længere noget særligt
1968 IV p 205, og i relation til Luxembourg                   krav til formen for rettens afgørelse, jfr. be-
gælder der helt enestående en formular-
                   —.
                                      —




                                                              tænkning nr. 698 / 1973 a.'st.). Om konventio-
tvang.                                                        nernes regler henvises generelt til fremstil-

      Der   er   endvidere ved et   senere   møde i      en   lingen ovenfor under pkt. 5.1.-3. Opmærk-
specialkomite           under
                        Haagerkonferencerne                   somheden henledes navnlig på, at isoleret be-
udarbejdet et forslag til en fakultativ formu-                visoptagelse i medfør af 5 343 i tilfælde, hvor
lar.                                                          sagsanlæg ikke påtænkes, ikke er omfattet
                                                         *




                                                              af konventionerne.
                                                                   Det *kan ikke antages, at retsplejelovens
                                                              %    342 giver demstolen'en større rådighed

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over retsanmodninger til udlandet end over                    ler derboende personer, vil kunne benyttes
bevisførelsen i almindelighed, og retten vil                  som bevis, medmindre & 341 efter de sæd-

således alene under trussel om benyttelse af                  vanlige overvejelser giver adgang til at afvise
den processuelle fakultative skadevirkning i                  sådan bevisførelse, jfr. Smit a.st. p 55. Dette
medfør af % 339, stk. 3, kunne opfordre en                    vil navnlig kunne være tilfældet, hvor kun
part til at fremsætte den ønskede begæring.                   den ene part har deltaget i fremskaffelsen
Tilsvarende må det antages,               at retten alene     af et berettende dokument, således at en da
kan afslå at udstede          en   anmodning, såfremt         bekendt modpart er betaget adgangen til
det     pågældende bevis kan nægtes ført, jfr.                kontradiktion, men også muligheden for ef-
%     341, eller der ikke findes grundlag for en              terfølgende at gøre handlingen om i mere be-
dertil        nødvendig udsættelse        af sagen,    jfr.   tryggende form vil spille ind ved afgørelsen,
f.eks. UfR 1924.188Ø og UfR 1965.411H.                        jfr. den kommenterede retsplejelov, I, p 365
   Om krav om sikkerhedsstillelse henvises                    ff med henvisninger. En udenlandsk myndig-
til    pkt.   9.2.                                            heds medvirken ved fremskaffelsen af bevi-
      Såfremt        retsanmodningen   —

                                           som   normalt,     set kan her tale for at       tillade, at det føres,
jfr.    f.eks. UfR 1977.625H          —
                                          indeholder    en    jfr. Hørlyck: Syn   og     skøn, p 59.
serie af spørgsmål, kan retten næppe med                        Udsættelse efter     %   345 vilformentlig ale-
hjemmel i 5 183, stk. 2, tilføje egne spørgs-                 ne blive tilladt, såfremt parterne er enige om

mål, idet forudsætningen for denne bestem-                    en bevisoptagelse, der ikke mere hensigts-

melse må         være    den traditionelle vidneafhø-         mæssigt kan ske i medfør af & 342.
ringssituation, hvor spontane spørgsmål fra                       Søges bevis optaget ved hjælp af en dansk
retten kan blive foranlediget af parternes ud-                repræsentation i udlandet, kan rettens bi-
spørgen, som retten ikke på forhånd kan kon-                  stand muligvis (selvom der ikke er udtrykke-
trollere. Også dette må reguleres efter % 339.                lig lovhjemmel hertil), yderligere omfatte
  Ønsker parterne at være repræsenteret                       medundertegnelse eller lignende af henven-
ved og deltage i bevisoptagelsen, må retten                   delsen til repræsentationen.
i realiteten enten   opgive sin kontrol med                       Bevisoptagelsen forudsætter efter den al-
spørgsmålene, (hvilken dårligt kan udøves af                  mindelige folkeret og konsularkonventionens
en fremmed ret), eller udnytte en eventuel                    art. 5, litra j, at territorialstaten ikke mod-

mulighed for selv at være repræsenteret. (I                   sætter sig den. Det samme følger af Haager-
så fald vil grundsætningen i % 183, stk. 2,                   konventionerne, hvor det efter civilproces-
formentlig i relation til retsplejeloven mulig-               konventionerne er almindeligt og efter bevis-
gøre rettens deltagelse i afhøringen).                        optagelseskonventionen for så vidt angår
   En eventuel begæring om benyttelse af en                   processtatens borgere nødvendigt, at en så-
særlig fremgangsmåde må i øvrigt navnlig                      dan holdning tilkendegives ved en erklæring
tage hensyn til metodens forenelighed med                     til Haagerkonferencernes permanente sekre-
danske retsbegreber og dens egnethed til at                   tariat. Erklæringer herom i henhold til bevis-
skaffe tilstrækkeligt bevis. Opmærksomhe-                     optagelseskonventionen offentliggøres i lov-
den henledes navnlig på, at mange lande som                   tidende C. Dette gælder også for erklæringer
udgangspunkt vil benytte »commissioner5a.                     i henhold til konventionens art. 16 om, at di-
                                                              plomater eller konsuler generelt eller efter
6.2.  Bevisoptagelse på anden måde                            konkret    ansøgningvil kunne optage bevis.
Retsplejelovens & 342 udelukker ikke, at der                  Sådanne tilladelser kan betinges af overhol-
på anden måde skaffes bevis fra udlandet,                     delsen af   særlige forskrifter, hvorom enkelte
jfr. & 344.                                                   stater   ligeledes har afgivet erklæring. Den
   Oplysninger, som uden rettens medvirken                    dansk—britiske konventions art. 9 forudsæt-
er skaffet fra udenlandske myndigheder el-                    ter, at beviset optages af      en   person, der   er


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beskikket dertil af den        pågældende domstol.          jfr.    actes et documents 1964 III p 75.

     I dansk ret   savnes    generel hjemmel til be-            Iprincippet vil den diplomatiske vej for
skikkelse af     en   sådan commissioner, hvorfor           en dansk anmodning gå gennem justitsmini-

den       mulighed,   bevisoptagelseskonven—
                      som                                   steriet og udenrigsministeriet, men da terri-
tionens art. 17 inogle tilfælde giver herfor,               torialstaten normalt ikke stiller krav herom,
ikke kan udnyttes. I praksis synes den dansk-               sker fremsendelsen i          praksis   ofte direkte fra
britiske konventions regel at være blevet an-               rekvirenten til den overordnede danske                 re-

vendt til »beskikkelsea af danske konsuler.                 præsentation        pågældende land, jfr. Ad-
                                                                               i det

      vidneudsagn eller lignende fremskaffes
     Et                                                     vokaten 1981 p 121, instruks for udenrigstje-

ifølge kapitel VIII, afsnit D, pkt. 2 og 3, i               nesten, kapitel VIII, afsnit B, pkt. 1, og af-
instruks for udenrigstjenesten ved, at perso-               snit C, pkt. 3 og 4, samt actes et documents
nen anmodes om at indfinde sig på repræsen-                 1968 IV p 101. Samme metode vil normalt
tationen, hvor de angivne spørgsmål stilles                 også kunne benyttes ved anmodninger til
og protokolleres sammen med svarene. Dette                  Danmark.
dokument undertegnes herefter af den på-                        Den      diplomatiske vej     anvendes i alminde-

gældende og den danske repræsentant og til-                 lighed kun,       hvor der ikke    er   traktathjemmel
bagesendes til rekvirenten. Stammer anmod-                  for     fremsendelsen,     men    territorialstaten kan

ningen ikke fra en dansk myndighed, kan re-                 —

                                                                som      f.eks. Schweiz
                                                                                     ifølge civilproceskon—
                                                                                          —




præsentationen søge at efterkomme den ved                   ventionernes art. 1 og 9 generelt kræve den
at rette skriftlig henvendelse herom til den                benyttet. En sådan mulighed foreligger ikke
pågældende og nøjes med at legalisere hans                  ifølge de øvrige konventioner, (jfr. actes et
underskrift. I tilfælde af manglende reaktion               documents 1964 III, p 91 fog 373), men
eller nægtelse af at medvirke tilbagesendes                 rekvirenten kan ifølge forkyndelseskonven-
anmodningen med oplysning herom.                            tionens art. 9, stk. 2, under særlige omstæn-
     Der    kan, selvom territorialstaten i medfør          digheder benytte den diplomatiske vej.
af bevisoptagelseskonventionens           art. 18   har        Er anmodningen fremsendt ad diploma-
erklæret sig villig til at medvirke,      ikke   benyt-     tisk vej, tilbagesendes sagen efter udførelsen
tes nogen form for       tvang, og det må antages,          ad samme vej, og alle konventionerne fore-
at retten heller ikke       uden for den dansk—briti—       skriver,      at eventuelle   uoverensstemmelser lø-
ske konventions område vil  benytte den pro-                ses     på   denne måde.
cessuelle fakultative skadevirkning, hvis den
pågældende er part i sagen, jfr. actes et do-                  (I Danmark påføres den legaliserede stævnings-
                                                            mandsattest normalt justitsministeriets fremsendelses-
cuments 1968 IV p 150.
                                                            skrivelse, medens justitsministeriets tilbagesendelsespå-
                                                            tegning     anbringes     efter      udenrigsministeriets
    Værdien af en konsulær bevisoptagelse, som ifølge
                                                            fremsendelsespåtegning).
bevisoptagelseskonventionens art. 15—16 alene kan ske
til brug for verserende sager, vil i høj grad afhænge af,
                                                            7.2.     Civilproceskonventionerne        og den
om afgivelse af en urigtig erklæring i praksis vil kunne
                                                                     dansk-britiske konvention
sanktioneres i kraft af territorialstatens regler eller
straffeloven.                                               Ifølge civilproceskonventionernes art. 1 og 9
                                                            fremsendes anmodninger af processtatens
7.   Frem- og tilbagesendelsesproceduren                    konsul til en af territorialstaten udpeget
7.1. Den diplomatiske vej (udgangspunktet)                  myndighed, som tilbagesender dokumenta-
Staternes  originære korrespondanceform er                  tion for udførelsen eller forsøget derpå til

ifølge den almindelige folkeret den såkaldte                konsulen.

»diplomatiske veje, hvor processtatens am-                      'Denne såkaldte »konsulære            veja   kan   dog
bassade i territorialstaten videregiver an-                 fraviges, såfremt processtaten kræver diplo-
modningen til dennes udenrigsministerium,                   matisk fremsendelse, jfr. pkt. 7.1., eller der

JURISTEN 1986                                                                                                      139
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er   truffet aftale    om en     anden fremsendelses-               myndighed,           såfremt den ikke               er   udstedt af

vej, jfr. pkt. 7.4. og 7.5.                                         denne eller         en    retlig myndighed. Danske                 er-


                                                                    klæringer udstedes                 tilbagesendes            af den
     Den               benyttes også ved
           konsulære vej                                                                          og
fremsendelse af anmodninger i medfør af                             pågældende           domstol.
den dansk—britiske konvention, jfr. dennes                               BeviskonVentionen' åbner formentlig lige-
art.  3, stk. 1 og 8, stk. 3.                                       ledes        mulighed for      direkte          tilbagesendelse,
     Danmark har som modtagende myndig-                             jfr. Bangert,      Due og Philip i NTfIR 1971

hed i de ovennævnte tilfælde    udpeget den                         p 328 f,        men cfr. actes et documents 1968


stedlige byret, for anmodninger om bevisop—                         IV p 167           f, 171 og 205.
tagelse i København dog justitsministeriet,                           Begge konventioner opretholder mulighe-
som herefter videresender anmodningerne til                         den for at benytte konsulær fremsendelse,
Københavns byret.                                                   hvilket her i landet skal ske direkte til dom-
                                                                                                                    '




   (De øvrige lande, der er omfattet af den                         stolene.
dansk-britiske konvention, har valgt at be-
nytte en eller flere centrale myndigheder til                       7.4. De        særlige aftaler med de øvrige
modtagelsen).                                                                   nordiske lande, Luxembourg,
                                                                                Vesttyskland og Østrig
     Selvom det ofte   —

                           som   f.eks. i actes et documents        Ifølge den nordiske overenskomst af 26. april 1974 om
                                       at konsulen har mod-
1964 III p 15 og 75    —


                        forudsættes,
                                                      .    _
                                                                    gensi dig retshj ælp, (jfr. b ekendtgørel se” nr. 100 af 15.
ta gel  anmodningen gen nem processt atens u denngsrfu              september 197 5), s om sup plerer forky ndelse s- og beVis-
                                                               -




ni ster ium, reguleres det te sp ørgsmål ikke af konventxo     '-

                                                                    opt agelseskonventionerne i relatio n til Finla nd, Norge
nerne, jfr. actes 1904 p 84, og danske rekvirenter
                                                       kan                                                  rel ation til Island,
                                                                    og Sverige og 1905-konven tionen i
henvende sig   direkte til den overordnede  repræsentation          fremsendes anmodninger om forkyndelses og bevisopta-
i den pågældende stat, jfr. bekendtgørelse nr. 167 af               gelse direkte mellem de pågældende statsmyndigheder,
20. maj 1932, afsnit II, (som dog på visse punkter er               hvilket her vil sige de danske domstole. (Oplysning _om
forældet), og instruks for udenrigstjenesten, kap. VIII,            adressen på den rette nordiske myndighed kan fås ved
afsnit B, pkt. 3 b og 0, samt afsnit C, pkt. 3 c.                   henvendelse til rigspolitichefen, afdeling A, Interpol,
                                                                    Polititorvet 14, 1588 København V, telefon (01)
                                                                    14 14       48, lokal 2401, jfr. cirkulæreskrivelse         nr.   94 af
7.3.     Forkyndelses-      og                                      6.   juli   1984   (M).
      bevisoptagelseskonventionerne                                      Danske domstoles       anmodninger til Luxembourg sen-
Ifølge forkyndelses- og bevisoptagelseskon—                         des  ifølge art.     2, stk. 2, i bekendtgørelse nr. 20 af 25.
ventionerne skal hver stat udpege en central                        januar 1912 d irektc til statsp rokurør erne ved distrikts-
                                                                    rettem e i Lux embuurg og Di ekirch, som sam men med-
myndighed, som kan modtage anmodninger-                             generalprokurøren ved overretten i Luxembourg er
ne og lade forkyndelsen foretage, respektive
                                                                    kompetent til at fremsende anmodninger til Danmark.
videresende anmodningen om bevisoptagelse                            Vore domstole kan ifølge art. 2, stk. 2, i bekendtgørelse
                                                                    nr. 15 af 29. januar 19321igeledesfremsende anmodnin-
til den kompetente myndighed. Disse opga-
                                                                     ger direkte til de tysk e lands retspræsidenter. (Justitsmi-
ver varetages i Danmark af justitsministeri-
                                                                    nisteriet send er med   j ævne mellemrum, senest den- 29.
et, og det  fremgår af de øvrige landes tiltræ-                     november 1983, domstolene lister over de rette tyske
 delseserklæringer, hvilken central myndig-                         myn digheder).                      _
                                                                                                                .




 hed, der er udpeget. Et land kan have udpe-                           D e tyske og luxembourg ske do mstole kan fremsende
                                                                    anm odninger til de danske, for så vidt angår anmodnin-
 get alternative myndigheder, som processta-                                                                   til justi tsmini—
                                                                    ger om bevi so ptagels e i K øben havn dog
 ten i stedet kan vælge at henvende sig til.                                                               herved   art. 2, stk.
                                                                    ster iet, som v iderese nder dem jfr.   ,



    Ifølge forkyndelseskonventionerne bør (se                       1, i sidstnævnte bekendtgørelse og bekendtgøreISe nr.
 actes et documents 1964 III p 87 og 371)                           57 af 11. marts 1932.

 tilbagesendelsen ske direkte fra den udføren-                         Ifølge art. 1 ioverenskomst af 8. november 1979 med
 de myndighed til rekvirenten, idet erklærin-                       Østrig om forenkling af 1954-konventionens ordning,
                                                                    jfr. bekendtgørelse nr. 84 af 17. august 1981, fremsen-
 gen om det passerede dog af rekvirenten
                                            kan
                                                                    des anmodninger om forkyndelse eller bevisoptagelse
 kræves      medunderskrevet            af den     centrale         mellem de to landes justitsministerier.


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7.5. Fremsendelse til      inkompetent                 vant dokument.

     myndighed m.v.                                      Kravet kan i   princippet udstrækkes også
Ifølge samtlige konventioner videresender              til retshandlinger, der foretages af personer
en myndighed, som på grund af saglig in-               uden forbindelse med dens egne myndighe-
kompetence ikke kan udføre en ønsket bevis-            der, men kun den dansk—britiske civilproces-
optagelse, anmodningen til den rette myn-              konventions art. 4, stk. 2, og art. 9, stk. 3,

dighed. Det samme gælder ifølge den dansk-             samt beviskonventionens art. 21, litra b, kræ-

britiske konventions art. 3, stk. 4, for anmod-        ver   oversættelse af det      forkyndte dokument
ninger om forkyndelse og ifølge de dansk-              eller tilsigelsen til at     afgive bevis for en di-
luxembourgske      og dansk—tyske overenskom-          plomatisk eller konsulær repræsentant, med-
ster i alle tilfælde af »lokal(( (stedlig) inkom-      mindre modtageren er statsborger i proces-

petence. Oversendelsen sker i         overensstem-     staten. (Dette spørgsmål Vil dog også blive
melse med det enkelte lands interne  regler,           inddraget i justitsministeriets overvejelser
jfr. udtrykkelig ciVilproceskonventionernes            med hensyn til de i 2.2., 2.3. og 2.4. nævnte
art. 12.                                               anmodninger).            _




     I dansk praksis sker sådan oversendelse til          Korrespondancen mellem den enkelte
rette myndighed normalt, uanset om kompe-              stats myndigheder indbyrdes kan altid ske

tencemanglen fremgår af de for afsenderen              på statens eget sprog, og det må antages, at
foreliggende oplysninger, eller den skyldes            også rene fremsendelsesskrivelser (traditio-
bopælskift hos en person, som skulle modta-            nelt typisk på fransk eller engelsk) falder

ge et dokument eller afgive et vidneudsagn,            uden for reguleringen.
jfr. ovenfor under 3.5.
    I nogle tilfælde vil undskyldelige fejltagel-      8.2. De interne danske krav til retsskridt i
ser med hensyn til territorialstaten her i lan-                udlandet.
det også blive korrigeret ved Videresendelse           Ifølge retsplejelovens %        149   er   retssproget
til andre lande eller modtagelse af henven-            dansk.
delser, der af denne grund er videresendt                Efter reglens      nærmere    udformning        og for-
derfra. Der er imidlertid ikke nogen pligt                           p 57 i motiverne til proces-
                                                       arbejderne, jfr.
hertil, jfr. actes et documents 1964 111, p 200        kommissionens 1877-udkast samt Victor
f.                                                     Hansen i       Retsplejen ved Højesteret, p. 87,
     Denmyndighed, hvorfra henvendelsen er             må det    —



                                                                     også for så vidt angår anmodninger
modtaget, underrettes om Videresendelsen.              om    retsskridt i udlandet      —




                                                                                            antages,     at alle

   Danske domstole, som modtager en begæ-              afgørelser    skriftlige meddelelser fra ret-
                                                                       og
ring direkte fra en fremmed ret, kan uden              ten såvel som alle tilførsler til retsbogen ube-

traktathjemmel efterkomme den, såfremt                 tinget skal foreligge på dansk. Det samme
der foreligger periculum in mora, jfr. justits-        gælder ifølge UfR 1976 980 V for proces-
ministeriets skrivelse     nr.   340 af 20.- oktober   skrifterne. Derimod kan oversættelse af                 an—

1906   (M). Også andre landes interne regler           dre dokumenter undlades, når parterne er
kan   hjemle lettere fremsendelse.                     indforstået hermed, og retten tror sig det
                                                       fremmede sprog mægtigt, hvorfor besvarel-
8.   Sproget                                           ser af danske retsanmodninger ikke nødven-
8.1. Udgangspunktet for overvejelser                   digvis   skal oversættes.
     vedrørende de sproglige krav                         Sker    en   forkyndelse    ikke til    brug   for   en

Et udslag af den almindelige folkerets regel           dansk retssag, kan dokumentet ikke                  være

om    territorialstatens ret til at nægte udførel-     omfattet af retsplejelovens % 149.
se   af et ønsket processkridt er, at den kan             Dansk ret indeholder intet          selvstændigt
vælge      at kræve   oversættelse af ethvert rele-    krav om, at et dokument          forkyndes eller be-

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                                                                         Forkyndelseskonventionens     formularer
vis    optages på territorialstatens sprog. I
                                                                      skal have standardtekst på engelsk eller
mange tilfælde følger dette dog af henvisnin-
                                                                      fransk samt derudover eventuelt på proces-
gerne i 55 158 og 347 til de indgåede konven-
tioner, men hvor territorialstaten inden eller                        statens sprog. De udfyldes på engelsk, fransk

udenfor konventionerne ikke kan eller vil                             eller terri-torialstatens sprog. De andre nævn-
kræve noget sådant, ligesom hvor proces-                              te konventioner tager ikke stilling til erklæ-

skridtet foretages med anden hjemmel, vil                             ringen    om   udførelsen,    sommå antages at
                                                                      kunne  udfærdiges på    territorialstatens sprog.
denne  omstændighed ikke kunne medføre en
egentlig ugyldighedsvirkning.                                           Anmodninger om bevisoptagelse skal iføl-
                                                                      ge civilproceskonventionernes art. 10 og
                                                                                                               den
   Bevisoptagelse må dog naturligvis ske på
et sprog, der forstås af de deltagende, jfr.                          dansk-britiske konventions art. 8, stk. 2, væ-
                                                                      re affattet på eller oversat til territorialsta-
&& 341 og 344, og retten vil endvidere f.eks.
kunne tillægge den omstændighed, at en                                tens sprog, og   tilbagesendelse af erklæringer
stævning er forkyndt i udlandet uden over-                            må antages at kunne ske på samme sprog.

sættelse, betydning for en afgørelse efter 5                              Ifølge bevisoptagelseskonventionens art. 4
354, stk. 7.                                                          skal territorialstaten som udgangspunkt

  (Den noget strengere formulering af kra-                            modtage anmodninger på eller oversættelse
vene     i instruks for           udenrigstjenesten, kap.             til sit eget sprog, engelsk eller fransk, og det
                                 C 2, synes principielt ikke          synes ifølge bemærkningerne forudsat, at
                                                                                                                   til-
VIII, afsnit B 1 og
at have hjemmel i dansk ret. Derimod bør                              bagesendelse sker på samme sprOg, jfr. actes
der ved forkyndelser formentlig gøres be-                             et documents 1968 IV p 206. Danmark vil

mærkning om modtagerens forståelse af do-                             ifølge en i medfør af art. 4, stk. 2 og 4, afgi-
kumentet).                                                            vet erklæring alene være forpligtet til at be-
                                                                      svare retsanmodninger, der fremkommer på

8.3. Konventionernes og traktaternes                                  dansk, norsk, svensk eller engelsk, og besva-
     krav m.v.                                                        relsen kan alene kræves udformet på dansk.
Et     dokument, der skal forkyndes i                   overens-      Herefter kan alle ikke fransk-talende lande
stemmelse med territorialstatens almindeli-                           nægte     modtage danske anmodninger på
                                                                                at
                                     i anmod-                         dette sprog, jfr. art. 33, hvorimod det kan
ge interne regler eller på en særlig
                                     skal    ifølge den   dansk-      forekomme noget tvivlsomt,          om   den danske
ningen angivet måde,
britiske konventions art. 3, stk. 3,                  være   affat-   erklæring   tilbagesendelsen helt eller del-
                                                                                     om

       dennes sprog eller ledsaget af en over-                        vis har samme retsvirkning for engelskspro-
tet    på
sættelse hertil. Det samme gælder ifølge ci-                          gede anmodninger, eller om den blot medfø-
vilproceskonventionens                     art.   3, medmindre        rer, at andre lande ikke kan forvente            noget
andet    aftalt, og ifølge forkyndelseskon-
              er                                                      sådant fra Danmark, medens det modsatte
ventionens art. 5, såfremt det kræves af terri-                       fortsat er tilfældet, jfr. Bangert, Due og Phi-
torialstaten.                                                         lip    i NTfIR 1971 p 330. (Den sidste løsning
                                                                      er    formentlig den, der svarer bedst til prak-
      (For   så vidt   angår   den dansk—britiske konvention hen-     sis). De enkelte landes stilling hertil vil      frem-
led es   opmærksomhed en p 5,  henve ndelse til de øv rige
                                      at
                                                                      gå af tiltrædelseserklæringerne.
sta ter ikke altid kan skepå  engelsk  En del lande har
                                                                            Den nordiske   retshjælpsoverenskomst gi-
                                                  .




endvidere af givet udtrykkelige erklæringer om krav ef-
ter forkyndelseskonventionens art. 5).
                                                                      ver    territorialstaten kravpå udfærdigelse på
                                                                      eller    oversættelse   til   dansk,     norsk    eller

      Såkaldtforkyndelse »uden tvangx (jfr.                           svensk af anmodningen, dog således at doku-
                                                                      menter affattet på andre sprog kan forkyn-
 pkt. 3.3.) skal dog ifølge Haagerkonventio—
 nerne forsøges,           selvom oversættelsen ikke fo-              des for den, der frivilligt modtager dem, eller

 religger.                                                            såfremt den udførende myndighed i øvrigt

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finder det ubetænkeligt. Besvarelsen af an-                                   De   særlige problemer omkring flersproge-
                                                                            de territorialstaterer udtrykkelig løst ved er-
modningen sker for så vidt angår forkyndel-
ser     altid    på dansk,             norsk eller svensk,            me-   klæringer fra Visse deltagerlande i den
dens dokumentation for                        bevisoptagelse også           dansk-britiske konvention, og bevisoptagel-
kan     udfærdiges på             finsk eller islandsk. I dis-              seskonventionens art. 4, stk. 3, pålægger sta-
setilfælde kan processtaten dog kræve                             over-     ter, som på grund af opdeling i sprogzoner
sættelse til dansk, norsk eller svensk.                                     alene vil modtage henvendelser på et be-
                                                                            sternt sprog i hver af disse, at afgive en er-

     Ifølge dansk-tyske forenklingsaftale (bekendtgø-
              den                                                           klæring herom, jfr. Bangert, Due Og Philip
relse   nr.  29. januar 1932 (A)) og den dansk-østrig—
              15 af                                                         i NTfIR 1971 p 329. Civilproceskonventio-
ske overenskomst (bekendtgørelse nr. 84 af 17. august
                                                                            nerne lader den udførende myndigheds
1981 (C)) kan anmodningerne udfærdiges på processta-
tens
                                                                            sprog være afgørende.       Forkyndelseskonven—
      sprog.
                                                         den                tionen synes at undgå       en stillingtagen, jfr.
     Den dansk-tyske aftale             giver ligesom          dansk—pola
ske aftale (bekendtgørelse              nr.   38 af 7. februar 1933  (A))   actes et documents 1964 III p         222f,   og Dan-
yderligere mulighed for uoversat fremsendelse af doku-                      mark har   indgået   en   særlig   aftale med   Belgi-
menter, der skal forkyndes, (og i relation til Polen også
                                                                            en, hvorefter dokumenter dertil kan frem-
af anmodninger) således at disse oversættes af territori-
alstaten på processtatens bekostning.
                                                                            sendes  på dansk og oversættes på rekviren-
   På samme måde behandles begæringer fra Luxem-                            tens bekostning, jfr. cirkulæreskrivelseaf 24.

bourg ifølge bekendtgørelse nr. 20 af 25. januar 1912.                      januar 1984 (U).
   Ifølge en aftale med Frankrig skal territorialstaten                        Med henblik på sikring af, at oversættel-
foretage gratis oversættelse af dokumenter, der frem-
                                                                            serne har en acceptabel kvalitet, har konven-
sendes ad diplomatisk vej i sager, hvor processtaten har
meddelt fri proces, jfr. bekendtgørelse nr. 167 af 20.                      tionerne fastsat regler om bekræftelse af de-
maj 1932 (A).                                                               res rigtighed.

   Ifølge en aftale med Israel, jfr. bekendtgørelse nr. 100                    Dette foretages ifølge civilproceskonven-
af 28. november 1967 (C), skal alle processtatens doku-
                                                                            tionerne af en diplomatisk eller konsulær re-
menter ledsages af en oversættelse til engelsk. (Om bevis-

optagelse       henvises    nu   til   bevisoptagelseskonventionen).        præsentant for processtaten eller af en auto-
                                                                            riseret translatør i territorialstaten, ifølge
      Selvom          en   aftale ikke indeholder
                                   udtryk-                                  den dansk-britiske konvention af          en    konsu-

kelige bestemmelser om oversættelse af do-                                  lær repræsentant for processtaten og ifølge

kumenter, der modtages på et fremmed                                        bevisoptagelseskonventionen af en diploma-
sprog, må det antages, at territorialstaten                                 tisk eller konsulær repræsentant, en edsvoren
som udgangspunkt kan vælge at lade dette                                    translatør eller en hvilken som helst anden
foretage, jfr.             actes et documents 1968 IV p                     dertil kompetent person i en af staterne.
109 og 206. Imidlertid modvirker noget så-                                     I forkyndelseskonventionen er der ingen
dant en hurtig udførelse, og meget kunne ty-                                udtrykkelige krav herom, og det afgørende
de på, at Haagerkonventionerne forpligter til                               må blive, at den anmodende myndighed la-
ikke at afvente oversættelse af dokumenter,                                 der begæringen omfatte oversættelsen, jfr.
der skal forkyndes »frivilligta, jfr. bl.a. actes                           herved udtrykket »bekræfteta i den nordiske
et documents 1964 III p 201 ff. (Territorial-                               retshjælpsoverenskomst.
staten må altid have ret til at forlange klar-                                 Den dansk-østrigske overenskomst tilla-
hed med hensyn til formålet, jfr. ovenfor un-                               der oversættelse ved      translatør i proces-
                                                                                                       en

der pkt. 3.5. og 5.3.). Ordlyden af den nordi-                              staten, (og   tilsvarende aftaler var indgået
ske retshjælpsoverenskomst tyder på det                                     med Israel,  Tyskland og Luxembourg, jfr.
samme, når territorialstaten ikke kan kræve                                 nu forkyndelses- og beviskonventionerne);

oversættelse, hvorimod det må forekomme                                        Danske translatøroversættelser bør legali-
særdeles tvivlsomt, om noget sådant følger                                  seres i industriministeriet og derefter (indi-

af den dansk—israelske aftale.                                              rekte) i udenrigsministeriet.

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       Opmærksomheden henledes på, at visse lande, der             aftaler med  Luxembourg eller Tyskland di-
    ikke er medlemmer af konventionerne, kræver oversæt—
                                                                   rekte til domstolene, synes bestemmelserne
    telser foretaget af derværende translatører. I nogle til-_
                                                                   om oversættelse i
    fælde kan det blive nødvendigt først at tilvejebringe en                         bekendtgørelse nr. 167 af
    legaliseret oversættelse til et af høvedsprogene. (Sådan-      20; maj 1932 analogt anvendelige, således
    ne sager bør drøftes med                                       at samme fremgangsmåde skal anvendes.
                                udenrigsministeriet, jfr. A. S.
    Madden og P. Zerman i Adv. 1981
                                           p 121).                    Bestemmelsen i bekendtgørelsen af 1932
                                                                   om, at de efter civilproceSkonventionerne
    8.4.
      Forkyndelse i Danmark                                        fornødne oversættelser af udenlandske doku-
 Som følge af det ovenfor under pkt. 3.1. om                       menter    tilvejebringes på rekvirentens be-
 hjemmelen til forkyndelse af udenlandske                         kostning, må fortolkes indskrænkende, så
 dokumenter i Danmark anførte reguleres                           den i mangel af forudgående samtykke alene
 dette ikke umiddelbart af retsplejelovens &                      benyttes, hvor der i øvrigt er hjemmel for
 149. Den administrative praksis
                                   synes imid-                    en såd an
                                                                               omkostningsfordeling, det vil sige
lertid udformet på en måde, som inden for                         i relati on til Luxembourg, Polen
                                                                                                      og Vesttys-
konventionernes spillerum tilgOdeser hensy-                       kland, jfr ovenfor under pkt. 8.3. og neden-
                                                                                  .




nene bag % 149, for så vidt de                                    for under pkt. 9.1.
                                  også gør sig
gældende i disse sager.                                              Retsanmodninger fra lande, der ikke har
   Selvom der ikke er afgivet udtrykkelige                        tiltrådt konventionerne, vil i praksis blive be-
erklæringer herom i relation til forkyndelses—                    handlet på nogenlunde samme måde, jfr.
konventionen, Vil uoversatte dokumenter, så-                      herved FOB 1977 p 455 og 1978 p 58.
ledes som det følger umiddelbart af civilpro-                       I det omfang, hvori der kræves oversættel-
ceskonven-tiønerne og bekendtgørelse nr. 167                      se, vil kravene om             udfærdigelse   og bekræf-
af 20. maj 1932, normalt alene blive
                                      søgt for-*                  telse heraf blivefastholdt, og oversættelser,
kyndt »uden tvanga som hjemlet ved Haa-                           der er behæftet med væsentlige            vil
gerkonventionerne, jfr. ovenfor under pkt.                        ikke blive godtaget.
                                                                                                  mangler,
3.3. og Practical Handbook p 52. Reglerne
modificeres dog af den nordiske retshjælps-                       8.5.   Bevisoptagelse          i Danmark
overenskomst, jfr. ovenfor under pkt. 83,                         I overensstemmelse med retsplejelovens %
samt muligvis af den dansk—israelske over-                        347 må det antages, at & 149 kan fraviges
enskomst.                                                         ved traktat, såfremt dette ikke vil stride mod
      Justitsministeriet vil
                           sædvanligvis først                     grundlæggende danske retsprincipper.
forsøge frivillig forkyndelse af de uoversatte                      Som det vil fremgå ovenfor under pkt.
dokumenter og derefter om fornødent retur-                        8.3., er kravet om translatøroversættelse mo-
nere dem med anmodning om oversættelse.                           dificeret ved Visse traktater, hvorimod retten
Denne       metode, der på grund af det danske                    ikke kan antages at være forpligtet til at
forkyndelsessy'stems hurtighed synes i over-                      skaffe sig et sådant kendskab til det fremme;
ensstemmelse med forkyndelseskonventio—                           de sprog, der    er benyttet med hjemmel i
nens  ånd, kan dog ikke benyttes, såfremt der                     traktaten, at anmodningen kan efterkommes
er anmodet om forkyndelse
                                  på en særlig må-                uden oversættelse. En sådan må om fornø-
de, jfr. art. 5, stk. 2, jfr. stk. 1, litra b, hvor-              dent normalt efter drøftelse med justitsmi-
                                                                         —




imod det under            hensyn     til bestemmelsens            nisteriet fremskaffes ex officio.
                                                                             .—




formulering        ikke kan     kræves,    at der
                                                på for-             Afhøring           af Vidner Vil i overensstemmelse
mularen       er   anmodet     om    overlevering uden            med % 149,stk. 1, 3. pkt., kunne ske på et
tvang.                                                            fremmed sprog, og dokumenter Vil kunne
     Fremkommer    anmodninger med hjemmel                        fremlægges           med     hjemmel i stk. 2, 2. pkt.,
iforkyndelseskonventionen i medfør af den-                               såvel tilførsler til
                                                                  men                               retsbogen som erklæ-
nes art. 9, (jfr. pkt. 7.3.), eller de bilaterale
                                                                  ringer m.v.         fra   retten bør foreligge på dansk.

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     Udenfor traktaternes område vil                 justits-          lem de    deltagende lande i beneficierede           sager kun kræ-
                                                                       ves refusion af udgifter af den sidstnævnte type. I øvrigt
ministeriet efter praksis som                  udgangspunkt
                                                                       er deltagerlandene, som det blandt andet fremgår af
videresende anmodninger, der                    er   formuleret
                                                                       dereserklæringer eventuelt under forbehold af gensi-
                                                                                               —




på skandinavisk sprog eller på et af hoved-
     et                                                                dighed tilbageholdende med at kræve refusion.
                                                                                 —




sprogene. I disse tilfælde må anmodningerne
tilbagesendes, såfremt de ikke kan                        imøde-       9.2.    Bevisoptagelse
kommes på dette grundlag, idet det                        af hen-      I overensstemmelse med       retsplejelovens %
syn til omkostningerne må
                           overlades til re-                           311 påhviler omkostningerne ved bevisopta—
kvirenten at sørge for oversættelse. Denne                             gelse i udlandet til brug for en dansk retssag
bør i så fald        Være   underskrevet af den            anmo-       den interesserede part. Der kan ifølge % 342,
dende          myndighed eller bekræftet af en trans-                  2. pkt. afkræves ham sikkerhedsstillelse for
latør     (eller eventuelt          en   konsulær repræsen-            disse omkostninger (i praksis navnlig for ud-
tant).                                                                 gifterne ved en folkeretligt fornøden over-
                                                                       sættelse og legalisering af anmodningen, ter-
9.        Bemærkningervedrørende                                       ritorialstatens refusionskrav og omkostnin-
      omkostningerne                                                   gerne ved en eventuel oversættelse af resul-
9.1. Forkyndelse                                                       taterne af bevisoptagelse, jfr. % 149), men
De krav, der folkeretligt stilles til dokumen-                         ikke for modpartens udgifter på grund af be-
ter, som forkyndes i udlandet, opfyldes nor-                           visoptagelsen, jfr. UfR 1975, 666V og
malt af processtaten, men kan ved hjemmel                              1979.696Ø.
i Visse aftaler opfyldes af territorialstaten på                            Territorialstaten kan afkræve den                       begæ-
processtatens bekostning, jfr.                  ovenfor under          rendemyndighed udgifter ved oversættelser,
pkt.      8.                                                           der med hjemmel i en generel eller konkret
     Efter dansk ret Vil det normalt                 påhvile    re-    aftale     er   foretaget             regning.
                                                                                                       for processtatens
kvirenten          at   lade    dokumentet           oversætte,        Herom henvises til pkt. 8.3., bevisoptagelses—

mangfoldiggøre og legalisere                   mv., jfr. herved        konventionens art. 4, stk. 3, og den nordiske
retsplejelovens % 311, bekendtgørelse nr. 256                          retshjælpsoverenskomsts art. 4, stk. 2.
af 20. juni 1972 om forkyndelse, % 7 og ju-                                 For så vidt        angår udførelsen            af anmodnin-
stitsministeriets cirkulæreskrivelse af 24. ja-                        gen hjemler alle konventionerne dækning af
nuar 1984 (V).                                                         udgifter til sagkyndige vidner    herunder              —




     En dansk rekvirents hæftelse for sådanne                          syns— og skønsmænd samt tolke       til gennem-     —




omkostninger,           folkeretligt påhviler pro-
                        der                                            tvingelse af vidnepligten og til efterkommel-
cesstaten, må           principielt udgangspunkt
                        som                                            se    begæringer om en særlig fremgangsmå-
                                                                            af
være       uafhængig af, om de umiddelbart læg-                        de. Almindelig vidnegodtgørelse, (jfr. rets-

ges ud af territorialstaten.                                           plejelovens % 188) kan kræves dækket ifølge
  I danske retssager afholdes de                        egentlige      den dansk-britiske konvention og civilproces—
forkyndelsesomkostninger derimod af stats-                             konventionerne, men ikke ifølge beviskon-
kassen, jfr. princippet i retsplejelovens %                            ventionens hovedregel.
165, stk. 2. Der kan indenfor konventioner-
nes       område alene blive tale              om    refusion til           Dersom     en   stat   på grund   af et   forfatningsmæssigt   be-
                                                                        hov herfor i medfør af beviskonventionens art. 26 rejser
                        okastninger til de
territorialstaten af dens
                                                                        krav om refusion af udgifterne til forkyndelse af Vidne-
medvirkende embedsmænd eller til iagtta-
                                                                        indkaldelser, almindelige vidnegodtgørelser og omkost-
gelse af særlige formkrav, der stilledes ved                            ninger vedrørende retsbogsudskrifter, udsætter den sig
anmodningen.                                                            for en massiv gengældelse fra alle de andre stater.


     Såfremt      civilproceskonventionens      formkrav   er over-
                                                                          Denne konvention tager derimod lige som
holdt,     kan der
                 (uanset       en   eventuel   senere   ratifikation
                                                                        den dansk-britiske højde for »common laW((-
af   forkyndelseskonventionen, jfr.         dennes art.    23) mel-

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                                                                                                                                       145
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 landenes særlige regler ved at hjemle refu-      9.3. Visse særaftaler
sion af vederlag til en af territorialstatens     Aftaler, der begrænser territorialstatens
myndigheder udpeget commissioner, i bevis-        krav på omkostning s refusion, e r
                                                                                     indgået med
konventionens tilfælde dog kun såfremt an-        de nordiske lande, Frankrig Luxembourg,
                                                                                  9

modningen er fastholdt efter underretning         Vesttyskland og Øs t rig.
om de omtrentlige
                    omkostninger.
  Deltagerne    i  civilproceskonventionerne      10.   Afslutning
kan ved begæringer i medfør heraf kun kræ-        Som det Vil   være   praktikere bekendt,   er   den
ve refusion af udbetalinger til vidner m.v.       danske juridiske litteratur særdeles kOrtfat-
samt af udgifter ved en særlig
                               fremgangsmå-       tet i sin omtale af de internationale
                                                                                        proces-
de.                                               skridt. Dette  skyldes formentlig navnlig, at
      Vedbevisoptagelse  i Danmark skal der       de enkelte problemer ofte må ses i både en
som   udgangspunkt betales retsafgift efter       folkeretlig og en processuel sammenhæng.
retsafgiftslovens % 14, men i medfør af 10-          I det forudgående har jeg
                                                                                 søgt at fremdra-
vens & 68 kan justitsministeri-et
                                  fravige dette   ge, systematisere og besvare nogle af emnets
ved traktatbestemmelser eller i
                                  øvrigt under    mere iøjnefaldende
                                                                       spørgsmål.
forudsætning af gensidighed.                        Tilbage står imidlertid, at en autoritativ be-
   Opstår der et praktisk behov for oversæt-      handling af disse problemer bliver stadig mere
telse af en anmodning, som med traktat-
                                                  påkrævet, efterhånden som betydningen af
hjemmel      fremsendt hertil på et fremmed
            er                                    det internationale samkvem
                                                                                 og dermed også
sprog, må omkostningerne herved udredes af        de internationale processkridt vokser.
statskassen.                                        Emnet fortjener større opmærksomhed i
                                                  fremtiden.




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